     Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 1 of 58



                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


NATIONAL IMMIGRATION PROJECT OF
THE NATIONAL LAWYERS GUILD, et al.,

                       Plaintiffs,

                v.                    Civil Action No. 1:20-cv-00852-CJN

EXECUTIVE OFFICE FOR IMMIGRATION
REVIEW, et al.,

                       Defendants.



  DEFENDANTS’ MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFFS’
          MOTION FOR TEMPORARY RESTRAINING ORDER
             Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 2 of 58



                                                  TABLE OF CONTENTS

TABLE OF AUTHORITIES ......................................................................................................... iii

INTRODUCTION .......................................................................................................................... 1

BACKGROUND ............................................................................................................................ 4

      A. The Executive Office for Immigration Review and Its Response to COVID-19..............4

      B. U.S. Immigration and Customs Enforcement and Its Response to COVID-19. ...............8

      C. This Lawsuit ....................................................................................................................12

LEGAL STANDARD................................................................................................................... 13

ARGUMENT ................................................................................................................................ 14

      I.    This Court Does Not Have Jurisdiction to Grant Plaintiffs’ TRO Motion......................14

            A. The Individual Plaintiffs Lack Article III Standing. ............................................... 14

            B. The Organizational Plaintiffs Lack Article III Standing and Are Outside of the
               INA’s Zone of Interests. .......................................................................................... 16

            C. The INA Prohibits District-Court Review of Plaintiffs’ Claims Arising From
               Removal Proceedings. ............................................................................................. 20

            D. The INA Bars This Court From Enjoining or Restraining Operation of
               Immigration-Court Proceedings or the INA Detention and Removal
               Provisions. ............................................................................................................... 26

            E. The INA Prohibits This Court From Compelling EOIR to Conduct Remote
               Immigration Proceedings Nationwide. .................................................................... 28

      II. Plaintiffs Are Not Entitled to a TRO. ..............................................................................29

            A. Plaintiffs Are Not Likely to Succeed on the Merits of Their Claims. ..................... 29

                   1.    EOIR’s and ICE’s Actions Are Not Subject to Review Under the APA and
                         In Any Event Are Not Arbitrary and Capricious. ............................................ 29

                   2.    EOIR’s and ICE’s Policies Do Not Violate Plaintiffs’ Constitutional or
                         Statutory Rights to Counsel or Procedural Due Process. ................................. 36

            B. Considerations of Harm and the Equities Weigh Strongly Against a TRO. ........... 39

            C. Even if This Court Were to Grant a TRO, It Must Be Sharply Limited. ................ 42



                                                                     i
            Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 3 of 58



CONCLUSION ............................................................................................................................. 45




                                                                    ii
            Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 4 of 58



                                              TABLE OF AUTHORITIES

Federal Cases
Abulhawa v. U.S. Dep’t of Treasury,
      239 F. Supp. 3d 24 (D.D.C. 2017) .................................................................................... 18

Adams v. Vance,
      570 F.2d 950 (D.C. Cir. 1978) .......................................................................................... 45

Aguilar v. ICE,
       510 F.3d 1 (1st Cir. 2007) ........................................................................................... 21, 23

Alvarez v. Sessions,
       338 F. Supp. 3d 1042 (N.D. Cal. 2018) ............................................................................ 23

Am. Immigration Lawyers Ass’n v. Reno,
      199 F.3d 1352 (D.C. Cir. 2000) .................................................................................. 18, 19

American Library Ass’n v. FCC,
      401 F.3d 489 (D.C. Cir. 2005) .......................................................................................... 16

Ardestani v. INS,
       502 U.S. 129 (1991) .......................................................................................................... 39

Ark Initiative v. Tidwell,
        749 F.3d 1071 (D.C. Cir. 2014) ........................................................................................ 17

Asylum Seeker Advocacy Project v. Barr,
      409 F. Supp. 3d 221 (S.D.N.Y. 2019)......................................................................... 22, 23

Bains v. Schiltgen,
       No. 97-cv-2573, 1998 WL 204977 (N.D. Cal. Apr. 21, 1998) ......................................... 20

Belbacha v. Bush,
      520 F.3d 452 (D.C. Cir. 2008) .................................................................................... 13, 27

Benjamin v. U.S. Attorney General,
      682 F. App’x 725 (11th Cir. 2017) ................................................................................... 39

Bennett v. Spear,
       520 U.S. 154 (1997) .................................................................................................... 29, 30

Biwot v. Gonzalez,
       403 F.3d 1094 (9th Cir. 2005) ................................................................................ 4, 37, 38

Blackie’s House of Beef, Inc. v. Castillo,
       659 F.2d 1211 (D.C. Cir. 1981) .................................................................................. 40, 45



                                                                  iii
            Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 5 of 58



Block v. Community Nutrition Institute,
       467 U.S. 340 (1984) .......................................................................................................... 23

California v. Azar,
       911 F.3d 558 (9th Cir. 2018) ............................................................................................ 45

Castro-O’Ryan v. U.S. Dep’t of Immigration and Naturalization,
       847 F.2d 1307 (9th Cir. 1987) .......................................................................................... 37

Chaplaincy of Full Gospel Churches v. England,
      454 F.3d 290 (D.C. Cir. 2006) .......................................................................................... 40

City of Los Angeles v. Lyons,
        461 U.S. 95 (1983) ............................................................................................................ 14

Clapper v. Amnesty Int’l USA,
      568 U.S. 398 (2013) .................................................................................................... 14, 41

Clarke v. Secs. Indus. Ass’n,
       479 U.S. 388 (1987) .......................................................................................................... 19

Cobell v. Norton,
       392 F.3d 461 (D.C. Cir. 2004) .......................................................................................... 31

Cohen v. United States,
      650 F.3d 717 (D.C. Cir. 2011) .......................................................................................... 31

Columbia Hosp. for Women Found., Inc. v. Bank of Tokyo-Mitsubishi, Ltd.,
      15 F. Supp. 2d 1 (D.D.C. 1997) ........................................................................................ 14

Cuban Am. Bar Ass’n, Inc. v. Christopher,
      43 F.3d 1412 (11th Cir. 1995) .......................................................................................... 18

Cutler v. Hayes,
       818 F.2d 879 (D.C. Cir. 1987) .......................................................................................... 32

Dawson v. Asher,
     No. 20-cv-0409, 2020 WL 1304557 (W.D. Wash. Mar. 19, 2020) ............................ 15, 41

DHS v. New York,
      140 S. Ct. 599 (2020) ........................................................................................................ 44

Dia v. Ashcroft,
       353 F.3d 228 (3d Cir. 2003).............................................................................................. 37

DRG Funding Corp. v. HUD,
     76 F.3d 1212 (D.C. Cir. 1996) .......................................................................................... 30




                                                                   iv
            Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 6 of 58



El Rio Santa Cruz Neighborhood Health Ctr. v. HHS,
       396 F.3d 1265 (D.C. Cir. 2005) ........................................................................................ 30

Fed’n for Am. Immigration Reform, Inc. v. Reno,
       93 F.3d 897 (D.C. Cir. 1996) ............................................................................................ 20

Federal Defenders of New York, Inc. v. Federal Bureau of Prisons,
      No. 19-1778, 2020 WL 1320886 (2d Cir. 2020) .............................................................. 20

Gill v. Whitford,
        138 S. Ct. 1916 (2018) ...................................................................................................... 42

Gonzalez v. INS,
      82 F.3d 903 (9th Cir. 1996) .............................................................................................. 37

Grupo Mexicano de Desarrollo S.A. v. Alliance Bond Fund, Inc.,
      527 U.S. 308 (1999) .......................................................................................................... 43

Haitian Refugee Ctr. v. Gracey,
       809 F.2d 794 (D.C. Cir. 1987) .......................................................................................... 18

Hamama v. Adducci,
     912 F.3d 869 (6th Cir. 2018) ............................................................................................ 27

Helling v. McKinney,
       509 U.S. 25 (1993) ............................................................................................................ 15

Hutchins v. District of Columbia,
       188 F.3d 531 (D.C Cir. 1999) ........................................................................................... 24

Innovation Law Lab v. McAleenan,
       924 F.3d 503 (9th Cir. 2019) ............................................................................................ 45

Innovation Law Lab v. Nielsen,
       310 F. Supp. 3d 1150 (D. Or. 2018) ................................................................................. 19

INS v. Lopez-Mendoza,
        468 U.S. 1032, 1038 (1984) .............................................................................................. 36

J.E.F.M. v. Lynch,
       837 F.3d 1026 (9th Cir. 2016) ................................................................................... passim

Jennings v. Rodriguez,
       138 S. Ct. 830 (2018) ........................................................................................................ 21

Kiyemba v. Obama,
      561 F.3d 509 (D.C. Cir. 2009) .................................................................................... 13, 27




                                                                   v
            Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 7 of 58



Koller By and Through Koller v. Richardson-Merrell, Inc.,
       737 F.2d 1038 (D.C. Cir. 1984) ........................................................................................ 36

Kowalski v. Tesmer,
      543 U.S. 125 (2004) .................................................................................................... 18, 19

Kucana v. Holder,
      558 U.S. 233 (2010) .......................................................................................................... 28

Landon v. Plasencia,
      459 U.S. 21 (1982) ............................................................................................................ 45

Lara-Torres v. Ashcroft,
      383 F.3d 968 (9th Cir. 2004) .................................................................................. 4, 37, 38

Las Americas v. Trump,
      No. 19-cv-2051, 2020 WL 1671584 (D. Or. Apr. 2, 2020) ....................................... passim

Liadov v. Mukasey,
       518 F.3d 1003 (8th Cir. 2008) .......................................................................................... 34

Lujan v. Nat’l Wildlife Fed’n,
       497 U.S. 871 (1990) .......................................................................................................... 29

Madsen v. Women’s Health Ctr., Inc.,
      512 U.S. 753 (1994) .......................................................................................................... 43

Maldonado-Perez v. INS,
      865 F.2d 328 (D.C. Cir. 1989) .......................................................................................... 36

Martinez v. Napolitano,
      704 F.3d 620 (9th Cir. 2012) ............................................................................................ 22

Martinez v. Nielsen,
      341 F. Supp. 3d 400 (D.N.J. 2018) ................................................................................... 25

Mendez v. Cooper,
      No. 19-cv-01701, 2019 WL 2577477 (D. Ariz. Apr. 17, 2019) ....................................... 34

Monsanto Co. v. Geertson Seed Farms,
      561 U.S. 139 (2010) .......................................................................................................... 42

Montes-Lopez v. Holder,
      694 F.3d 1085 (9th Cir. 2012) .......................................................................................... 38

Morgan Stanley DW Inc. v. Rothe,
      150 F. Supp. 2d 67 (D.D.C. 2001) .................................................................................... 13




                                                                  vi
            Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 8 of 58



Munaf v. Geren,
      553 U.S. 674 (2008) .......................................................................................................... 21

Nat’l Conference on Ministry to Armed Forces v. James,
       278 F. Supp. 2d 37 (D.D.C. 2003) .................................................................................... 14

Neb. Dep’t of Health & Human Servs. v. Dep’t of Health & Human Servs.,
      435 F.3d 326 (D.C. Cir. 2006) .......................................................................................... 45

Ngure v. Ashcroft,
       367 F.3d 975 (8th Cir. 2004) ............................................................................................ 32

Nken v. Holder,
       556 U.S. 418 (2009) .......................................................................................................... 40

Norton v. Southern Utah Wilderness Alliance,
       542 U.S. 55 (2004) ........................................................................................................ 3, 31

O.A. v. Trump,
        404 F. Supp. 3d 109 (D.D.C. 2019) .................................................................................. 25

O’Shea v. Littleton,
      414 U.S. 488 (1974) .......................................................................................................... 14

Ohio Forestry Ass’n v. Sierra Club,
      523 U.S. 726 (1998) .......................................................................................................... 16

P.L. v. ICE,
        No. 19-cv-1336, 2019 WL 2568648 (S.D.N.Y. June 21, 2019) ................................. 22, 23

Perez v. Sessions,
       690 F. App’x 360 (6th Cir. 2017) ..................................................................................... 39

Pub. Citizen v. Nat’l Highway Traffic Safety Admin.,
       374 F.3d 1251 (D.C. Cir. 2004) ........................................................................................ 32

RadLAX Gateway Hotel, LLC v. Amalgamated Bank,
     566 U.S. 639 (2012) .......................................................................................................... 27

Reno v. American-Arab Anti-Discrimination Comm.,
       525 U.S. 471 (1999) .......................................................................................................... 24

Saavedra Bruno v. Albright,
      197 F.3d 1153 (D.C. Cir. 1999) ........................................................................................ 20

Scenic America, Inc. v. DOT,
       836 F.3d 42 (D.C. Cir. 2016) ............................................................................................ 16




                                                                  vii
            Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 9 of 58



Sessions v. Morales-Santana,
       137 S. Ct. 1678 (2017) ...................................................................................................... 18

Sibley v. Obama,
        810 F. Supp. 2d 309 (D.D.C. 2011) .................................................................................. 13

Skorusa v. Gonzales,
       482 F.3d 939 (7th Cir. 2007) ............................................................................................ 37

Sophia v. Decker,
       No. 19-cv-9599, 2020 WL 764279 (S.D.N.Y. Feb. 14, 2020) ......................................... 22

Spencer Enters., Inc. v. United States,
      345 F.3d 683 (2003) .......................................................................................................... 29

Summers v. Earth Island Inst.,
     555 U.S. 488 (2009) .......................................................................................................... 42

Trump v. Hawaii,
      138 S. Ct. 2392 (2018) ...................................................................................................... 43

Trump v. IRAP,
      137 S. Ct. 2080 (2017) ...................................................................................................... 44

U.S. Ass’n of Reptile Keepers, Inc. v. Jewell,
       106 F. Supp. 3d 126 (D.D.C. 2015) .................................................................................. 44

United States ex rel. Knauff v. Shaughnessy,
       338 U.S. 537 (1950) .......................................................................................................... 32

United States v. Martinez-Fuerte,
       428 U.S. 543 (1976) .......................................................................................................... 40

United States v. Salerno,
       481 U.S. 739 (1987) .......................................................................................................... 34

Univ. of Texas v. Camenisch,
       451 U.S. 390 (1981) .......................................................................................................... 44

Vazquez Perez v. Decker,
      No. 18-cv-10683, 2019 WL 4784950 (S.D.N.Y. Sept. 30, 2019) .................................... 27

Vermont Yankee Nuclear Power Corp. v. Natural Resources Defense Council, Inc.,
      435 U.S. 519 (1978) ...................................................................................................... 4, 32

Vetcher v. Sessions,
       316 F. Supp. 3d 70 (D.D.C. 2018) .......................................................................... 3, 22, 25




                                                                 viii
            Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 10 of 58



Virginia Soc’y for Human Life v. FEC,
       263 F.3d 379 (4th Cir. 2001) ............................................................................................ 43

Winter v. Natural Resources Defense Council, Inc.,
       555 U.S. 7 (2008) ............................................................................................ 13, 29, 40, 42

Wisconsin Gas Co. v. FERC,
      758 F.2d 669 (1985) .......................................................................................................... 42

Youngberg v. Romeo,
      457 U.S. 307 (1982) .......................................................................................................... 40

Zhu v. Gonzales,
       411 F.3d 292 (D.C. Cir. 2005) ........................................................................................... 28

Federal Statutes
5 U.S.C. § 555(b) .......................................................................................................................... 39

5 U.S.C. § 702 ......................................................................................................................... 19, 29

5 U.S.C. § 704 ......................................................................................................................... 29, 30

5 U.S.C. § 706(1) .......................................................................................................................... 31

5 U.S.C. § 706(2) .......................................................................................................................... 43

8 U.S.C. § 1103(g) .......................................................................................................................... 5

8 U.S.C. § 1225(b)(1)(B)(ii) ........................................................................................................... 9

8 U.S.C. § 1225(b)(2)(A) ................................................................................................................ 9

8 U.S.C. § 1226(a) .......................................................................................................................... 5

8 U.S.C. § 1226(c) ...................................................................................................................... 5, 9

8 U.S.C. § 1229a(a)(1) .................................................................................................................... 5

8 U.S.C. § 1229a(b)(2)(A) ........................................................................................................ 3, 28

8 U.S.C. § 1231(a)(2) ...................................................................................................................... 9

8 U.S.C. § 1231(g)(1) ..................................................................................................................... 9

8 U.S.C. § 1252(a)(2)(B)(ii) ..................................................................................................... 3, 28

8 U.S.C. § 1252(a)(5) ............................................................................................................. passim



                                                                      ix
            Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 11 of 58



8 U.S.C. § 1252(b)(9) ............................................................................................................ passim

8 U.S.C. § 1252(f)(1) .......................................................................................................... 3, 26, 27

8 U.S.C. § 1252(g) .................................................................................................................. 24, 26

8 U.S.C. § 1329 ............................................................................................................................. 20

8 U.S.C. § 1362 ................................................................................................................. 22, 36, 39

28 U.S.C. § 1331 ........................................................................................................................... 24

28 U.S.C. § 1651(a) .......................................................................................................... 13, 25, 27

Federal Regulations
8 C.F.R. § 1003.10(b) ................................................................................................................. 5, 6

8 C.F.R. § 1003.12 .......................................................................................................................... 5

8 C.F.R. § 1003.18 ...................................................................................................................... 5, 8

8 C.F.R. § 1003.19 .......................................................................................................................... 5

8 C.F.R. § 1003.25 .......................................................................................................................... 5

8 C.F.R. § 1003.27 .......................................................................................................................... 5

8 C.F.R. § 1003.29 ...................................................................................................................... 5, 8

8 C.F.R. § 1003.31 ...................................................................................................................... 5, 8

8 C.F.R. § 1003.38 .......................................................................................................................... 5

8 C.F.R. § 1003.40 .......................................................................................................................... 5

Other Authorities
Administrative Office of the U.S. Courts, Judiciary Preparedness for Coronavirus (COVID-19),
      https://www.uscourts.gov/news/2020/03/12/judiciary-preparedness-coronavirus-covid-19
      ........................................................................................................................................... 34

Samuel L. Bray, Multiple Chancellors: Reforming the National Injunction, 131 Harv. L. Rev.
      417 (2017) ......................................................................................................................... 43

The Federalist No. 78 (Alexander Hamilton) (Clinton Rossiter ed., 1961) .................................. 43




                                                                         x
         Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 12 of 58



                                       INTRODUCTION

        This Court should deny Plaintiffs’ extraordinary request for this Court to broadly suspend

in-person immigration-court hearings, assume oversight over the immigration-detention system,

and order the release of tens of thousands of aliens despite the laws enacted by Congress. The

federal government is responding expeditiously, carefully, and thoroughly to address the

challenges presented by COVID-19. That comprehensive response includes tailored and effective

measures taken by the Executive Office for Immigration Review (EOIR) over the immigration

courts and by U.S. Immigration and Customs Enforcement (ICE) over immigration detention

facilities.

        The United States’ immigration courts, which adjudicate removability and claims for relief

from removal of hundreds of thousands of aliens, have faced the same considerable challenges as

other court systems have from the COVID-19 pandemic. The immigration courts have responded

swiftly to those challenges by postponing all immigration hearings for non-detained aliens through

May 1, 2020; limiting in-person appearances in courts where possible; and, reminding immigration

judges—who are independent administrative judges—of their authority to waive appearances,

grant continuances, decide cases on the papers, and conduct hearings by video or telephone where

possible to limit the risk of exposure. See Ex. 1, Decl. of EOIR Director James McHenry ¶¶ 44–

54, 68–70; Ex. 2, EOIR Policy Mem. 20-10, Immigration Court Practices During the Declared

National Emergency Concerning the COVID-19 Outbreak (EOIR Mem.). Similarly, ICE “is taking

necessary and prompt measures” to curb the spread of COVID-19 while still permitting robust

access to counsel and ensuring the safety of staff, detainees, and legal representatives. Ex. 3, E

COVID-19 Pandemic Response Requirements (ICE Pandemic Response) 1; Ex. 4, Decl. of Russell

Hott, Acting Asst. Director of ICE’s Custody Management Division ¶¶ 19–30. Such steps

potentially include “[a]dding all immigration attorneys of record to the Talton Pro-bono platform,”


                                                1
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 13 of 58



“[l]everaging technology (e.g., tablets, smartphones) to facilitate attorney/client communication”

and “[w]orking with the various detention contractors and telephone service providers to ensure

that all detainees receive some number of free calls per week.” ICE Pandemic Response 12–13.

       Against these efforts, Plaintiffs—three organizations and five detained aliens—move for

an extraordinary order that would shut down all remaining immigration-court operations

everywhere and require the release of tens of thousands of criminal and other aliens unless ICE

immediately implements Plaintiffs’ preferred policies. Their TRO Motion centers on the first three

claims in their Complaint alleging that EOIR’s and ICE’s COVID-19 responses are arbitrary and

capricious under the Administrative Procedure Act (APA), violate the Individual Plaintiffs’

statutory right to counsel under the Immigration and Nationality Act (INA), and violate the

Individual Plaintiffs’ right to procedural due process. See Mot. for Temporary Restraining Order

(Mot.; ECF No. 7); Compl. ¶¶ 66–82. And although they ask for universal relief applicable to all

immigration courts and all immigration detention facilities (including, apparently, those operated

by state and local authorities), Plaintiffs do not purport to represent a class or raise class claims.

       Like the only other court to address similar claims seeking universal relief, see Las

Americas v. Trump, No. 19-cv-2051, 2020 WL 1671584, at *2 (D. Or. Apr. 2, 2020), this Court

should reject this request.

       To start, this Court does not have jurisdiction to grant Plaintiffs’ TRO Motion. First, the

Individual Plaintiffs lack Article III standing to bring their APA claim and their access-to-counsel

and procedural-due-process claims because their requests rest on speculation. Plaintiffs are either

unrepresented or have not explained why remote communication is insufficient, and none of them

have imminent immigration-court hearings that cannot be conducted by remote means. Second,

the Organizational Plaintiffs fail to establish standing because they do not identify a specific




                                                   2
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 14 of 58



“legally protected interest” of the organizations or their members that has been impinged upon and

do not establish that the relief they seek is likely to redress their alleged injuries. They also cannot

state an APA claim because their interests are not within the INA’s zone of interests. Third, this

Court lacks jurisdiction over all claims because the INA requires “all questions of law and fact ...

arising from any action taken or proceeding brought to remove an alien from the United States” to

be reviewed exclusively in federal courts of appeals—not district courts—after exhausting

administrative proceedings, 8 U.S.C. §§ 1252(b)(9), 1252(a)(5), including Plaintiffs’ “policies-

and-practices challenges,” right-to-counsel claims, and procedural-due-process challenges,

J.E.F.M. v. Lynch, 837 F.3d 1026, 1029, 1033, 1035 (9th Cir. 2016); Vetcher v. Sessions, 316 F.

Supp. 3d 70, 76 (D.D.C. 2018). Fourth, Congress has prohibited this Court from granting

Plaintiffs’ requested injunctive relief against the operation of statutes governing removal

proceedings and alien detention. See 8 U.S.C. § 1252(f)(1) (“Limit on Injunctive Relief”). Finally,

the INA prohibits this Court from requiring EOIR to conduct immigration proceedings exclusively

by remote means—which, in any event, EOIR has already “remind[ed]” its immigration judges

that they may do. EOIR Mem. 2. The use of video- or teleconferencing in immigration proceedings

is committed by statute to the government’s discretion, see 8 U.S.C. § 1229a(b)(2)(A), and the

INA prohibits district-court review of the government’s discretionary determinations, id.

§ 1252(a)(2)(B)(ii).

       Even if this Court possesses jurisdiction, it should still deny a TRO because all injunctive

factors favor the government. First, Plaintiffs cannot succeed on the merits of their APA claim or

their right-to-counsel and procedural-due-process claims. The APA may not be invoked to demand

“day-to-day agency management,” Norton v. Southern Utah Wilderness Alliance, 542 U.S. 55, 67

(2004), which is committed to agency authority and is entitled to deference, see Vermont Yankee




                                                   3
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 15 of 58



Nuclear Power Corp. v. Natural Resources Defense Council, Inc., 435 U.S. 519, 543 (1978),

particularly in the immigration context. EOIR and ICE are exercising that authority soundly, and

Plaintiffs provide no basis to hamstring these agencies’ abilities to respond to the evolving health

crisis. Plaintiffs also fail to explain how EOIR’s decision not to suspend certain essential in-person

immigration hearings nationwide or ICE’s disease-prevention or attorney-access protocols are

“tantamount to denial of counsel.” Biwot v. Gonzalez, 403 F.3d 1094, 1098 (9th Cir. 2005). Nor

could they, since such claims require a backward-looking inquiry into “the actual substance of the

hearing[s],” Lara-Torres v. Ashcroft, 383 F.3d 968, 973 (9th Cir. 2004)—which, here, have not

occurred—to determine whether there was a prejudicial violation. Second, Plaintiffs’ speculative

claims of future injury do not outweigh the public interest in retaining EOIR’s and ICE’s flexibility

to respond to changing circumstances. And even if emergency relief were appropriate, the scope

of Plaintiffs’ requested relief is overbroad and risks harm to individuals who Plaintiffs purport to

help. At a minimum the Court must limit any relief to the Individual Plaintiffs named in the

complaint and any actual clients of the Organizational Plaintiffs’ members whom they can identify

as having imminent immigration-court hearings.

                                         BACKGROUND

A.     The Executive Office for Immigration Review and Its Response to COVID-19.

       Immigration-Court System. EOIR is a component of the U.S. Department of Justice (DOJ)

that oversees a system of 69 immigration courts located across the country. McHenry Decl. ¶ 9.

Generally, when the U.S. Department of Homeland Security (DHS) seeks to remove an alien from

the United States, DHS issues a “notice to appear” that explains the “charges against the alien and

the statutory provisions alleged to have been violated.” 8 U.S.C. § 1229. The INA sets out a range

of grounds that can make an alien removable from the United States. See id. §§ 1182, 1227. Under

8 U.S.C. § 1229a, immigration judges decide whether aliens are removable and resolve claims


                                                  4
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 16 of 58



from individual aliens seeking relief from removal. Id. § 1229a(a)(1). Congress has mandated that

certain categories of aliens must be detained during removal proceedings. See, e.g., id. § 1226(c).

For other categories of aliens, immigration judges may conduct bond hearings and grant release

on bond in certain circumstances. See id. § 1226(a); see also McHenry Decl. ¶¶ 8–43 (describing

proceedings in immigration court). Aliens may appeal from the immigration judges’ decisions,

including decisions on custody and bond, to the Board of Immigration Appeals (BIA). 8 C.F.R.

§ 1003.38. An alien may seek judicial review of a BIA decision by filing a petition for review in

the court of appeals for the circuit where the immigration court that heard the claim is located.

8 U.S.C. §§ 1252(a)(5), (b)(9).

       The Attorney General oversees EOIR, and he has authority to establish regulations

governing the operation of the immigration courts and to carry out the provisions of the INA.

See 8 U.S.C. § 1103(g). “[T]o assist in the expeditious, fair, and proper resolution of matters”

before the immigration courts, 8 C.F.R. § 1003.12, there are various regulations that govern the

conduct of removal proceedings, including regulations giving immigration judges authority over

“scheduling cases,” id. § 1003.18; and to make custody determinations, id. § 1003.19; grant

continuances “for good cause shown,” id. § 1003.29; waive the “presence of the parties” in certain

circumstances or permit telephonic or video hearings, id. § 1003.25; limit public access to

hearings, id. § 1003.27; “set and extend time limits” for filings, id. § 1003.31; and “establish local

operating procedures,” id. § 1003.40. Immigration judges “exercise the powers and duties

delegated to them by the [INA] and by the Attorney General through regulation,” and “[i]n

deciding the individual cases before them,” “exercise their independent judgment and discretion

and may take any action consistent with their authorities under the Act and regulations that is

appropriate and necessary for the disposition of such cases.” Id. § 1003.10(b). “In all cases,




                                                  5
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 17 of 58



immigration judges shall seek to resolve the questions before them in a timely and impartial

manner consistent with the Act and regulations.” Id.

       Immigration-Court Response to the Pandemic. In response to the outbreak of COVID-19,

EOIR “has followed a path similar to that of other courts” that have “grappled with the operational

challenges posed by the outbreak,” and have not closed entirely but have scaled back operations

to “what may be characterized as essential or critical services,” including processing filings by

mail and email, adjudicating motions or filings that can be resolved without a hearing,

“conduct[ing] critical hearings of individuals in custody,” and issuing announcements on

operational status as facts develop. McHenry Decl. ¶¶ 44–45.

       On March 18, 2020, EOIR “postponed all removal hearings of non-detained aliens through

at least April 10, 2020,” and later postponed hearings for non-detained aliens through May 1.

McHenry Decl. ¶¶ 53, 68. On March 18, the Director of EOIR also issued a Policy Memorandum

modeled on orders issued by federal district courts adopting guidance for “all immigration court

cases effective immediately” to “promote the safety of immigration court personnel,

representatives, aliens, attorneys for [DHS], and the general public during the ongoing national

emergency related to the COVID-19 outbreak.” Id. ¶¶ 47–49; EOIR Mem. 1–4.

       Among other things, EOIR restricted access to immigration courts for individuals at risk

of having COVID-19. EOIR Mem. 2; McHenry Decl. ¶¶ 47–48. EOIR also reminded immigration

judges of their authority to take a range of actions “for preventative purposes to minimize contact

among individuals involved in immigration proceedings,” and advised that immigration judges

“may consider applicable public health guidance in exercising these authorities.” EOIR Mem. 2;

see also McHenry Decl. ¶¶ 47–49. To this end, the Director advised immigration judges that they

“may waive the presence of represented aliens”; “grant a motion for a continuance upon a showing




                                                6
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 18 of 58



of good cause”; “place reasonable limitations upon the number in attendance at a hearing” or “hold

a closed hearing”; “issue standing orders, including orders regarding telephonic appearances by

representatives”; waive various requirements that would normally apply to the proceedings;

conduct “hearing by video teleconferencing (VTC) where operationally feasible” or by telephone

in certain circumstances; and, “encourage[d] immigration judges to resolve as many cases as

practicable without the need for a hearing and, thus, to minimize contact among individuals

involved in immigration proceedings.” EOIR Mem. 2–3; see also McHenry Decl. ¶¶ 47–49.

       The Director also noted that while “the ultimate disposition of any particular case remains

committed to the immigration judge in accordance with the law,” he “encouraged [parties] to

resolve cases through written pleadings, stipulations, and joint motions” where possible, noted

holding certain categories of hearings was “disfavored,” and provided that hearings that must go

forward, such as for detained aliens, should be conducted by remote means “to the maximum

extent practicable in accordance with the law.” EOIR Mem. 3–4; McHenry Decl. ¶¶ 47–49. EOIR

thus committed to “using alternative hearing mediums” as much as possible to “further minimize

in-person interaction and reduce the risk of spread of COVID-19.” EOIR Mem. 3.

       Although the immigration courts have significantly scaled back operations, they continue

to carry out essential functions such as holding bond hearings for detained aliens or other hearings

that may lead to an alien’s release. McHenry Decl. ¶¶ 31–36. The outbreak has generated demand

for EOIR to hold more or more-immediate hearings, including litigation and threatened litigation

in other district courts requesting that immigration courts expedite certain types of hearings. See

id. ¶¶ 34, 67. For hearings that must proceed, EOIR has developed court-specific plans to ensure

that the hearings can take place through remote means and are consistent with social-distancing

practices even when individuals are in the same location, such as where immigration courts are




                                                 7
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 19 of 58



located in detention facilities. Ex. 5, Decl. of Acting Chief Immigration Judge Christopher Santoro

¶¶ 6–11. Immigration courts must also remain open to accept certain urgent filings, including

motions to reopen or stay removal, and EOIR has now provided means for aliens to file such

motions electronically in every immigration court and the BIA. Id. ¶¶ 61, 71, 93. Closing courts

to such motions would leave aliens without the ability to seek urgent relief from removal. Id. ¶ 61.

Various statutes and court orders require immigration judges to take certain actions within strict

timelines, and closing the immigration courts completely may violate those orders. Id. ¶ 67.

       Immigration judges have authority to extend deadlines if necessary and to excuse untimely

filings caused by the outbreak where appropriate, as courts have done with other emergencies.

McHenry Decl. ¶¶ 21–26; see also 8 C.F.R. §§ 1003.18, 1003.29, 1003.31. Immigration judges

also have authority to issue standing orders and adopt local operating procedures, and many courts

“have done so over the past three weeks in response to the COVID-19 and have tailored them to

the particular circumstances of their respective dockets.” McHenry Decl. ¶ 40. For aliens who

receive in absentia orders, immigration judges can reopen the proceedings for aliens who show

that they did not attend the hearing because they did not receive proper notice or for other

exceptional circumstances. Id. ¶ 18.

       Finally, EOIR has set up systems and methods for communicating updates and changes to

immigration-court operations as they develop, including through posting updates on EOIR’s

website. McHenry Decl. ¶¶ 73–78. EOIR has also worked to correct any earlier inconsistent

communications and has developed additional procedures for ensuring clear, consistent, and easily

accessible communications going forward. Id. ¶¶ 59–60.

B.     U.S. Immigration and Customs Enforcement and Its Response to COVID-19.

       ICE is a DHS agency charged with protecting the United States from cross-border crime

and illegal immigration that threatens national security and public safety. Hott Decl. ¶ 5. ICE’s


                                                 8
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 20 of 58



Enforcement and Removal Operations’ (ERO) mission is “to identify, arrest, and remove aliens

who present a danger to national security or are a risk to public safety, as well as those who enter

the United States illegally or otherwise undermine the integrity of our immigration laws and our

border control efforts.” Id. ¶ 6. Congress mandated that certain aliens must be detained during

removal proceedings or pending their removal, see, e.g., 8 U.S.C. §§ 1225(b)(1)(B)(ii),

1225(b)(2)(A), 1226(c), 1231(a)(2), and ICE retains discretion to “arrange for appropriate places

of detention” during removal proceedings or prior to removal, id. § 1231(g)(1). ICE houses these

aliens in ICE Health Service Corps (IHSC)-staffed facilities; non-IHSC-staffed, ICE-dedicated

facilities; or contract facilities while they await adjudication of their case or removal. See Hott

Decl. ¶¶ 6, 11–13.

       ICE epidemiologists have been tracking the outbreak, regularly updating infection

prevention-and-control protocols, and issuing guidance to staff for the screening and management

of potential exposure among detainees. See Hott Decl. ¶ 20. ICE directed its field leadership to

review their detainees’ cases and consider release for those who are vulnerable to COVID-19. Ex.

6, Assistant Director Peter Berg., Field Operations, “Updated Guidance: COVID-19 Detained

Docket Review” 1–2 (ICE Docket Guidance). Such detainees include those who are over 60,

pregnant or who have recently given birth, and those with a chronic illness that makes them

immune-compromised. Id. The presence of any of these factors is a “significant discretionary

factor weighing in favor of release” for those who are eligible. Id.

       To safeguard those in its custody, ICE has implemented multiple measures that are in

compliance with CDC guidance. See ICE Pandemic Response 5. These CDC-compliant measures

include robust screening of detainees for COVID-19 symptoms or potential exposure and follow-

on monitoring, treatment, and cohorting for those detainees who display symptoms or test positive,




                                                 9
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 21 of 58



and other measures to limit exposure to COVID-19 from individuals entering these facilities. See

ICE Pandemic Response 5–16; Hott Decl. ¶¶ 19–23.

       ICE remains committed to ensuring that detainees are able to communicate with legal

representatives and has issued guidance to the facilities to that effect. Hott Decl. ¶¶ 24–27.

Individual facilities have implemented ICE guidance in various ways to correspond to each

individual facility’s options for providing robust access to attorney-client communication by

various means. For example, the La Palma Correctional Center in Eloy, Arizona, where Plaintiffs

Napoles Vaillant, Rodriguez Cedeno, and Guerrero-Cornejo are detained, Compl. ¶¶ 14, 15, 17,

allows in-person and telephonic attorney conferences. See Ex. 7, Decl. of Jason Ciliberti ¶¶ 25–

33. In-person visits are permitted on Monday through Friday from 8:00 AM to 5:00 PM, and on

weekends from 8:00 AM to 12:00 PM, and can be scheduled based on an attorney’s request. Id.

¶ 25. Any visitors—including attorneys, consular officers, and legally mandated Congressional

visitors—must wear personal protective equipment (PPE) and be screened for COVID-19

exposure prior to entering. Id. ¶ 19. Attorneys can also request that their clients call them by

sending an email to a dedicated inbox, which will be delivered to the detainee by facility staff. Id.

¶ 27.a. Phones are available throughout the facility, and attorney call are not recorded. Id. ¶¶ 28.a,

29.a, 31. For example, on April 6, 2020, Plaintiff Guerrero-Cornejo was given a message to call

his attorney that provided the phone number he should call. Id. ¶ 30. Since January 3, 2020,

Plaintiff Rodriguez Cedeno has had 19 official attorney visits, with the four most recent occurring

between March 4 and March 12, 2020. Id. Since January 3, 2020, Plaintiff Enrique Napoles

Vaillant has had 18 official attorney visits, with the four most recent occurring in the first two

weeks of March. Id.

       The Eloy Detention Center in Eloy, Arizona, where Plaintiff Arliaga-Cobas is detained,




                                                 10
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 22 of 58



Compl. ¶ 16, allows in-person and telephonic attorney conferences. See Ciliberti Decl. ¶¶ 25–33.

In-person visits are permitted daily from 8:00 AM to 5:00 PM, or outside those hours if requested.

Id. ¶ 25. Any permitted visitors must wear PPE and be screened for COVID-19 exposure prior to

entering the facility. Id. ¶ 19. Attorneys can also request that their clients call them by sending a

message to a dedicated inbox, which will be delivered to the detainee by facility staff. Id. ¶ 27.b.

Phones are available throughout the facility, including in private booths. See id. ¶¶ 28.b, 29.b. Calls

with attorneys are not recorded. Id. ¶ 31.

       The Pine Prairie ICE Processing Center in Pine Prairie, Louisiana, where Plaintiff

Velasquez Quiala is detained, Compl. ¶ 18, allows in-person, telephone, and VTC attorney-client

conferences. Ex. 8, Decl. of Alcide R. Benoit ¶¶ 27–38. Attorneys can schedule phone or VTC

conferences with their clients by emailing a request to a dedicated inbox the preceding day, along

with the date and time of the requested conference, some basic information about the detainee and

the attorney, and a Skype address and phone number. Id. ¶ 28. In-person visits are scheduled

similarly. Id. ¶ 31. Detainees may request to call their attorneys through their case manager, who

contacts the attorney and schedules a call. Id. ¶ 30. Attorneys who visit the facility in-person must

wear PPE and be screened for COVID-19 exposure prior to entering the facility. Id. ¶ 33–34.

Attorney visits occur in the open-space visitation area, where attorneys and their clients are seated

six feet apart with a table in between. Id. ¶ 36. Plaintiff Velasquez Quiala had a VTC conference

with his attorney on March 6, 2020. Id. ¶ 42.

       Other facilities discussed in Plaintiffs’ motion papers also have facilitated attorney access.

The Otay Mesa Detention Center in California allows attorneys and detainees to meet via 26 VTC

units in the facility’s lobby or by telephone. Ex. 9, Decl. of Kelley Beckhelm ¶¶ 24–25. Attorneys

may meet their clients at the Stewart Detention Center in Georgia in person with a secure divider




                                                  11
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 23 of 58



in between, or communicate confidentially by telephone or VTC. Ex. 10, Decl. of John Bretz ¶ 18.

The Elizabeth Contract Detention Facility in Newark, New Jersey, can accommodate nine one-

hour telephonic legal visits in three private rooms per day, for a total of 27 timeslots for its

detainees. Ex. 11, Decl. of Jose Simao ¶ 11. The Butler County Jail in Hamilton, Ohio, allows

attorneys with PPE to visit clients in person and provides detainees with surgical masks, or allows

to meet with clients through closed circuit audio/video equipment from the lobby. Ex. 12, Decl. of

Christopher L. LaBier ¶ 22. And the Folkston ICE Processing Center gives detainees access to

telephones, mail, and Skype-enabled devices. Ex. 13, Decl. of Brian Allen ¶ 17.

C.     This Lawsuit

       Plaintiffs are three organizations that assist immigration attorneys (the Organizational

Plaintiffs) and five individuals housed at three immigration detention facilities in Arizona and

Louisiana (the Individual Plaintiffs). Compl. ¶¶ 10–18. They filed this lawsuit on March 30, 2020,

alleging that EOIR has failed to enact nationwide policies to address COVID-19 in immigration

courts and that ICE has failed to enact nationwide policies with respect to attorney-client visitation

and participation in court proceedings while in detention facilities, and that EOIR’s and ICE’s

existing policies (which differ by locality) violate certain statutory and constitutional provisions.

Compl. ¶¶ 36–65, 70, 77, 81, 91–93, 100, 109. Plaintiffs do not assert any class claims, but they

ask the Court to suspend in-person immigration hearings nationwide and order EOIR and ICE to

promulgate a variety of nationwide procedures or, in the alternative, to temporarily release tens of

thousands of detained aliens. Id. at 27–28. The Individual Plaintiffs assert claims under the INA,

the Administrative Procedure Act (APA), the First Amendment, and the Fifth Amendment’s Due

Process Clause. Id. ¶¶ 66–82, 86–93, 101–09. The Organizational Plaintiffs assert claims under

the APA, the First Amendment, and the Due Process Clause. Id. ¶¶ 66–72, 83–85, 94–100.

       On April 8, 2020, Plaintiffs moved for a TRO on only their APA claim (raised by all


                                                 12
         Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 24 of 58



Plaintiffs) and their right-to-counsel and procedural-due-process claims (raised only by the

Individual Plaintiffs). Mot. 30 n. 58; see Compl. ¶¶ 73–77. They seek an order requiring EOIR to

“[s]uspend all in-person non-bond hearings and immediately convert all in-person bond hearings

to remote hearings; [p]romulgate policies and procedures that, at a minimum, permit remote court

appearances by all necessary participants (e.g., court personnel, detained persons, counsel,

interpreters, transcription); and [p]ermit continuances as of right due to COVID-19,” Mot. 2–3,

and requiring ICE to “[p]romulgate policies and procedures enabling remote interconnection by

and with all necessary participants in court appearances; [f]acilitate communications between

detained persons and immigration courts to enable the submission of requests for rescheduling and

for continuance; and [d]evelop policies, procedures, and facilities that will enable those who are

detained to obtain, and counsel to provide legal advice remotely and without monitoring, and with

adequate protection of human health,” Mot. 3; see also Proposed Order 1–6 (ECF No. 7-37).

                                         LEGAL STANDARD

        “A temporary restraining order is an extraordinary remedy, one that should be granted only

when the moving party, by a clear showing, carries the burden of persuasion.” Sibley v. Obama,

810 F. Supp. 2d 309, 310 (D.D.C. 2011). “The court considers the same factors in ruling on a

motion for a temporary restraining order and a motion for a preliminary injunction.” Morgan

Stanley DW Inc. v. Rothe, 150 F. Supp. 2d 67, 72 (D.D.C. 2001). The movant must demonstrate

(1) that it is likely to succeed on the merits of its claims; (2) that it is likely to suffer an irreparable

injury in the absence of injunctive relief; (3) that the balance of equities tips in its favor; and (4) that

the proposed injunction is in the public interest. Winter v. Natural Resources Defense Council,

Inc., 555 U.S. 7, 20 (2008). The All Writs Act, 28 U.S.C. § 1651(a), does not absolve a party

seeking a TRO from satisfying the four-factor test for preliminary relief. See Belbacha v. Bush,

520 F.3d 452, 457 (D.C. Cir. 2008); Kiyemba v. Obama, 561 F.3d 509, 513 n.3 (D.C. Cir. 2009).


                                                    13
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 25 of 58



       When the movant seeks mandatory, rather than prohibitory, injunctive relief, the movant

“must meet a higher standard than in the ordinary case by showing clearly that he or she is entitled

to relief or that extreme or very serious damage will result from the denial of the injunction.”

Columbia Hosp. for Women Found., Inc. v. Bank of Tokyo-Mitsubishi, Ltd., 15 F. Supp. 2d 1, 4

(D.D.C. 1997) (quotation makes and citation omitted), aff’d, 159 F.3d 636 (D.C. Cir 1998). A

mandatory preliminary injunction “should not issue ... unless the facts and the law clearly favor

the moving party.” Nat’l Conference on Ministry to Armed Forces v. James, 278 F. Supp. 2d 37,

43 (D.D.C. 2003) (internal quotations omitted).

                                          ARGUMENT

I.     This Court Does Not Have Jurisdiction to Grant Plaintiffs’ TRO Motion.

       A.      The Individual Plaintiffs Lack Article III Standing.

       The Individual Plaintiffs lack Article III standing to bring their APA claim (Claim I) or

access-to-counsel claims (Claims II & III) because they do not “satisfy the threshold requirement”

of “alleg[ing] an actual case or controversy.” O’Shea v. Littleton, 414 U.S. 488, 493 (1974). Where,

as here, the relief sought is prospective relief only, a plaintiff must demonstrate a risk of future

injury that is both “real” and “immediate” and neither “conjectural” nor “hypothetical.” City of

Los Angeles v. Lyons, 461 U.S. 95, 102–03 (1983). A plaintiff seeking forward-looking relief bears

the burden of proving the existence of a future “threatened injury [that is] certainly impending.”

Clapper v. Amnesty Int’l USA, 568 U.S. 398, 401 (2013). Plaintiffs’ requests for relief fall short

because they rest on speculation related to immigration-court hearings and access to counsel, and

the speculative effect of EOIR’s and ICE’s policies on those events, but Plaintiffs are either

unrepresented or have not explained why telephonic communication is insufficient, and none of

them have imminent immigration-court hearings that cannot be conducted by remote means.

       Plaintiffs’ speculative allegations of harm do not raise any concrete injury sufficient to


                                                  14
         Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 26 of 58



establish standing or obtain injunctive relief. Only two Plaintiffs have submitted declarations in

support of the TRO motion, and neither identifies any impending or concrete injury. See Pls.’ Ex.

5, Rodriguez Cedeno Decl. (ECF No. 7-6); Pls.’ Ex. 21, Napoles Vaillant Decl. (ECF No. 7-22).

Neither of them is represented by counsel or has an imminent hearing in immigration court—

Napoles Vaillant’s hearing is not until June 22, and is set to be done “by video,” Vaillant Decl.

¶ 6; Rodriguez Cedeno alleges he had a hearing set for April 2, Cedeno Decl. ¶ 6, but it has been

continued until August 5, 2020, Ex. 14, Decl. of Elizabeth Burgus ¶ 3.1 As to the three remaining

Individual Plaintiffs: Aliaga-Cobas does not have counsel and does not have a hearing until June,

Compl. ¶ 16; Guerrero-Cornejo has counsel but has not given any reason why telephone access at

the La Palma facility is insufficient, id. ¶ 17, and Velasquez Quiala has counsel but does not allege

that telephone access at the Pine Prairie facility is somehow inadequate, id. ¶ 18. See also Ciliberti

Decl. ¶ 28.a. (“[D]etainees [at La Palma] can schedule a free call with a legal representative from

the telephone in [the] visitation [area]. ... There is no limitation placed on the length of the call.”);

Benoit Decl. ¶¶ 27–32 (attorneys visits at Pine Prairie can occur in person, by telephone, or Skype).

        Claims based on potential exposure to diseases are generally limited to cases where the

disease has been shown to exist in a particular facility and is “sure or very likely” to spread and

cause injury, see Helling v. McKinney, 509 U.S. 25, 32 (1993), as opposed to Plaintiffs’

speculation about hypothetical future exposure to a virus that has not been shown to be spreading

in the facilities at issue, see Dawson v. Asher, No. 20-cv-0409, 2020 WL 1304557, at *2 (W.D.

Wash. Mar. 19, 2020) (denying TRO because “there is no evidence that anyone at [the ICE facility]

has COVID-19, and Plaintiffs do not address the measures Defendants are taking to prevent such



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  Plaintiffs also submitted a declaration from one other alien, but he is not a Plaintiff and his
allegations about an April 2 hearing are out-of-date, see Pls.’ Ex. 18, Estrada Fernandez Decl. ¶ 7
(ECF No. 7-19), as that hearing was postponed, Ex. 15, Decl. of Elizabeth Burgus ¶ 3.


                                                   15
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 27 of 58



a spread from occurring”). Given the extensive measures Defendants have taken in response to the

outbreak to limit exposure and expand options for attorney-client communications and

immigration-court hearings and filings by remote means, Plaintiffs cannot show a standing-

conferring injury here. Ciliberti Decl. ¶ 28.a; Benoit Decl. ¶¶ 27–32; McHenry Decl. ¶¶ 44–72.

Moreover, even if Plaintiffs could otherwise satisfy Article III, their claims are not ripe because

there is no actual, imminent controversy or any indication that Defendants’ actions will be

insufficient to stem the spread of COVID-19 while still allowing for sufficient access to counsel

and the courts. See Ohio Forestry Ass’n v. Sierra Club, 523 U.S. 726, 732–34 (1998) (holding

challenge to agency plan not ripe for review “until a site-specific action occurs” that makes the

harm “more imminent and more certain”).

       B.      The Organizational Plaintiffs Lack Article III Standing and Are Outside of
               the INA’s Zone of Interests.

       The Organizational Plaintiffs appear to assert (as best as Defendants can discern) two

standing theories tied to their APA claim: associational standing and third-party standing. See, e.g.,

Compl. ¶ 5, Mot. 7, 12, 33 n.62. Plaintiffs thus “forfeit [any] claim that [the Court] possess

jurisdiction” on other grounds. Scenic America, Inc. v. DOT, 836 F.3d 42, 53 (D.C. Cir. 2016). To

establish associational standing, the Organizational Plaintiffs must show through competent

evidence that: “(1) at least one of their members has standing to sue in her or his own right, (2) the

interests the association seeks to protect are germane to its purpose, and (3) neither the claim

asserted nor the relief requested requires the participation of an individual member in the lawsuit.”

American Library Ass’n v. FCC, 401 F.3d 489, 492 (D.C. Cir. 2005).

       Plaintiffs fail this test because they have not identified a single member of their

organizations who themselves has Article III standing. As with the Individual Plaintiffs, this turns

on whether the members can demonstrate injury, causation, and redressability. See Ark Initiative



                                                 16
         Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 28 of 58



v. Tidwell, 749 F.3d 1071, 1075 (D.C. Cir. 2014). Plaintiffs’ APA claim does not identify a “legally

protected interest” that has been impinged upon. Rather, Plaintiffs contend that EOIR’s and ICE’s

policies have violated some vague combination of “statutory, regulatory, and constitutional

rights.” Compl. ¶ 70. In support, the Organizational Plaintiffs submit several declarations from

member attorneys who generally allege that in-person hearings may be detrimental to their health,

while remote hearings and consultation are insufficient to allow them to adequately represent their

clients. Mot. 1–2. But the member attorneys do not establish any “concrete and particularized”

injury stemming from Defendants’ responses to the pandemic. For example, one attorney says that

she attended an immigration hearing in New York on March 11, and she tested positive for

COVID-19 on April 2, speculating that she “might have been exposed” while at the immigration

court. Pls.’ Ex. 1, Arce Decl. at 1. It is unclear why she places full blame on the immigration court

for her positive diagnosis: She does not say it is the only place she visited outside her home during

those three weeks, and she admits that she “felt compelled”—not that she was compelled—to

appear at the court in person. Id. (emphasis added); see also Pls.’ Ex. 3, Church Decl. ¶ 9 (attorney

chose to attend hearings in person, rather than utilize telephonic option, on March 30). Another

immigration attorney protests the challenges of communicating telephonically with a detained

client. Pls.’ Ex. 2, Erlich Decl. ¶ 1 (“Even several one-hour telephone meetings are far inferior to

the face-to-face meetings, not limited in time, that were available in the EDC before the

pandemic.”). But attorneys do not have some general right to represent clients in a particular way,

especially during a public health crisis. That the attorneys may have to expend some effort to

communicate with detained clients within the bounds of Defendants’ responses to the public health

crisis is insufficient to establish Article III standing.

        Plaintiffs also do not establish that the relief they seek is likely to redress these alleged




                                                    17
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 29 of 58



injuries. They ask for EOIR and ICE to implement “uniform policies” in response to the COVID-

19 pandemic. Mot. 28. But whatever uniform policies might be adopted, Plaintiffs have not shown

that they would better prevent the member attorneys from contracting the virus or that they would

allow member attorneys unfettered access to their clients at any time and manner of their choosing.

Plaintiffs’ speculative assertions about Defendants’ responses are insufficient to establish Article

III standing. See Abulhawa v. U.S. Dep’t of Treasury, 239 F. Supp. 3d 24, 36 (D.D.C. 2017).

        Plaintiffs also fail to demonstrate third-party standing. To the extent that the Organizational

Plaintiffs rely on alleged harms to detained aliens to justify their own standing, “a party must assert

his own legal rights and cannot rest his claim to relief on the legal rights of third parties.” Sessions

v. Morales-Santana, 137 S. Ct. 1678, 1689 (2017). The Organizational Plaintiffs cannot assert

third-party standing based on any purported right that detained aliens have to access counsel or to

challenge the impact of EOIR or ICE policies on aliens. See Am. Immigration Lawyers Ass’n v.

Reno (AILA), 199 F.3d 1352, 1364 (D.C. Cir. 2000) (rejecting third-party standing “to raise claims,

whether statutory or constitutional, on behalf of aliens,” noting “the judicial presumption against

suits seeking relief for a large and diffuse group of individuals, none of whom are party to the

lawsuit”). That is especially so where Plaintiffs purport to speak on behalf of tens of thousands of

aliens, none of whom they identify by name. See Kowalski v. Tesmer, 543 U.S. 125, 134 (2004).

In particular, an attorney’s putative “future attorney-client relationship with as yet unascertained”

clients is not a permissible basis for standing. Id. at 130; see Cuban Am. Bar Ass’n, Inc. v.

Christopher, 43 F.3d 1412, 1422–23 (11th Cir. 1995) (legal organization lacked standing to assert

alleged injury to aliens it did not represent); Haitian Refugee Ctr. v. Gracey, 809 F.2d 794, 809–

10 (D.C. Cir. 1987) (similar). The Organizational Plaintiffs reference clients of their member

attorneys, Mot. 7, 13, yet never identify any actual client of the Plaintiffs, let alone one who is




                                                  18
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 30 of 58



subject to and allegedly harmed by the challenged EOIR and ICE actions. Organizations cannot

demonstrate third-party standing based on alleged injury to “the rights of some hypothetical

claimant.” Kowalski, 543 U.S. at 134 n.5. If Plaintiffs have an attorney-client relationship with any

actual alien affected by the challenged policies, they can represent the alien in a first-party

challenge to the policies. Indeed, five detained aliens are Plaintiffs in this lawsuit, so an individual

alien plainly can “protect his or her own interests.” AILA, 199 F.3d at 1358, 1362; see Kowalski,

543 U.S. at 129 (party invoking third-party standing must show that “the party asserting the right

ha[d] a ‘close’ relationship with the person who possesses the right,” and “there [was] a ‘hindrance’

to the possessor’s ability to protect his own interests”).2

       Even if they had constitutional standing, the Organizational Plaintiffs cannot obtain review

under the APA of EOIR’s and ICE’s actions because their interests are not within the zone of

interests protected by the INA. The APA does not “allow suit by every person suffering injury in

fact.” Clarke v. Secs. Indus. Ass’n, 479 U.S. 388, 395 (1987). It provides a cause of action only to

one “adversely affected or aggrieved by agency action within the meaning of a relevant statute.”

5 U.S.C. § 702. To be “aggrieved,” “the interest sought to be protected” must “be arguably within

the zone of interests to be protected or regulated by the statute or constitutional guarantee in

question.” Clarke, 479 U.S. at 396 (modifications omitted).

        Nothing in the INA suggests that it is meant to protect the interests of immigration

attorneys. Although the Organizational Plaintiffs suggest that they are seeking to challenge

“limitations on access to counsel” through their APA claim, Mot. 33 n.62, they point to no



2
 The sole case Plaintiffs rely on for third-party standing, Innovation Law Lab v. Nielsen, 310 F.
Supp. 3d 1150 (D. Or. 2018), Mot. 33 n.62, is contrary to this Circuit’s controlling AILA and
Gracie precedents, as well as the Supreme Court’s Kowalski decision.




                                                  19
         Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 31 of 58



particular regulation or statute that arguably protects or regulates their interests in this regard.3 And

Plaintiffs themselves recognize that the INA provisions regarding the ability of an alien to retain

counsel relates to the alien’s interests, not the interests of the immigration bar. Compl. ¶¶ 73–77

(asserting statutory claims regarding access to counsel only on behalf of the Individual Plaintiffs);

see, e.g., Fed’n for Am. Immigration Reform, Inc. v. Reno, 93 F.3d 897, 900–04 (D.C. Cir. 1996)

(immigration advocacy organizations are outside immigration statutes’ zone of interests).

        Congress similarly made clear that no party other than the United States could litigate

challenges to removal proceedings in the district courts by withdrawing jurisdiction for such causes

of action that had previously existed. Until Congress amended the INA to include the claim-

channeling provisions of § 1252, a separate provision, 8 U.S.C. § 1329, provided jurisdiction for

suits in federal district courts filed by any alien or organization challenging implementation of the

immigration laws. See, e.g., Bains v. Schiltgen, No. 97-cv-2573, 1998 WL 204977, at *3 (N.D.

Cal. Apr. 21, 1998) (describing statute’s prior version). But Congress amended § 1329 in 1996,

“making clear that district court jurisdiction founded on the immigration statute is confined to

actions brought by the government.” Saavedra Bruno v. Albright, 197 F.3d 1153, 1162 (D.C. Cir.

1999). This provision makes clear that organizations have no cause of action under the INA to

raise challenges related to removal proceedings.

        C.      The INA Prohibits District-Court Review of Plaintiffs’ Claims Arising From
                Removal Proceedings.

        Plaintiffs argue that “ICE’s failure to act to increase detained persons’ access to robust

remote communication and EOIR’s failure to suspend in-person hearings and grant continuances


3
 For this reason, the analysis in Federal Defenders of New York, Inc. v. Federal Bureau of Prisons,
No. 19-1778, 2020 WL 1320886 (2d Cir. 2020), that Plaintiffs invoke, see Mot. 33 n.62, is not
applicable here. In that case, the Second Circuit held that the attorneys’ APA claim fell within the
zone of interests of the BOP’s regulations on inmate-attorney visits. Id. at *9. There is no similar
regulation or statute that could possibly apply to the Organizational Plaintiffs here.


                                                   20
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 32 of 58



as a matter of course together deprive detained persons of their right to access to counsel” in

removal proceedings and to procedural due process. Mot. 37; see also id. at 34–37. But the INA

divests district courts of jurisdiction to review those claims because they “aris[e] from” removal

proceedings. 8 U.S.C. § 1252(b)(9). Therefore, those claims cannot form the basis for a TRO.

See Munaf v. Geren, 553 U.S. 674, 690 (2008).

       The INA states that “a petition for review filed with an appropriate court of appeals in

accordance with [8 U.S.C. § 1252] shall be the sole and exclusive means for judicial review of an

order of removal.” 8 U.S.C. § 1252(a)(5). The same section permits “[j]udicial review of all

questions of law and fact, including interpretation and application of constitutional and statutory

provisions, arising from any action taken or proceeding brought to remove an alien from the United

States ... only in judicial review of a final order.” Id. § 1252(b)(9) (emphasis added). Through

§ 1252, “Congress has clearly provided that all claims—whether statutory or constitutional—that

‘aris[e] from’ immigration removal proceedings can only be brought through the petition for

review process in federal courts of appeals.” J.E.F.M., 837 F.3d at 1029. Section 1252(b)(9)’s

channeling provisions are “breathtaking” in scope and “vise-like” in grip, swallowing up “virtually

all claims that are tied to removal proceedings.” Id. at 1031 (quoting Aguilar v. ICE, 510 F.3d 1,

9 (1st Cir. 2007)). “Taken together, § 1252(a)(5) and § 1252(b)(9) mean that any issue—whether

legal or factual—arising from any removal-related activity can be reviewed only through the PFR

process.” Id.; see also Jennings v. Rodriguez, 138 S. Ct. 830, 840 (2018) (§ 1252(b)(9) is a

“jurisdiction bar” to challenges to “any part of the process by which [an alien’s] removability will

be determined”); id. at 841 n.3 (“the question is not whether [the challenged action] is an action

taken to remove an alien but whether the legal questions in this case arise from such an action”

(emphases in original)). These channeling provisions include “right-to-counsel claims” and




                                                21
         Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 33 of 58



“challenges to agency policies,” J.E.F.M., 837 F.3d at 1035, and any challenge arising from any

aspect of the processes or practices that apply to aliens in immigration court, see Vetcher, 316 F.

Supp. 3d at 76; Sophia v. Decker, No. 19-cv-9599, 2020 WL 764279, at *2 (S.D.N.Y. Feb. 14,

2020); Asylum Seeker Advocacy Project (ASAP) v. Barr, 409 F. Supp. 3d 221, 225–26 (S.D.N.Y.

2019).

         Section 1252(b)(9) channels the Individual Plaintiffs’ claims against EOIR into the courts

of appeals. All Plaintiffs challenge how EOIR is conducting immigration proceedings and their

ability to retain or consult with counsel. See, e.g., Mot. 8–20, 30–37. Those claims are covered by

§ 1252(b)(9) and so are outside this Court’s jurisdiction. See J.E.F.M., 837 F.3d at 1029, 1033,

1035 (constitutional and statutory “policies-and-practices challenges” and “right-to-counsel claims

must be raised through the PFR process because they “arise from” removal proceedings”); Vetcher,

316 F. Supp. 3d at 76 (similar). That includes Plaintiffs’ claims that EOIR’s implementation of its

video-teleconference or telephonic-hearing policies violates their statutory or due-process rights.

P.L. v. ICE, No. 19-cv-1336, 2019 WL 2568648, at *3 (S.D.N.Y. June 21, 2019) (“Plaintiffs’

challenge to Defendants’ VTC policy arises from ‘proceeding[s] brought to remove

[undocumented immigrants] from the United States.’”).

         Section 1252(b)(9) also channels all Plaintiffs’ claims against ICE into the courts of

appeals. Plaintiffs argue that ICE’s disease-prevention and attorney-access protocols violate their

statutory right to counsel and their procedural-due-process rights. See Mot. 12–16, 34–37. But the

right to counsel exists only “[i]n any removal proceedings,” 8 U.S.C. § 1362, so any challenge

based on the deprivation of that right (and its attendant procedural-due-process challenge),

“however it is framed,” is reviewable only as part of the review of a final removal order. Martinez

v. Napolitano, 704 F.3d 620, 623 (9th Cir. 2012); see J.E.F.M., 837 F.3d at 1035 (§ 1252(b)(9)




                                                22
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 34 of 58



bars constitutional and statutory “right-to-counsel claims”); Aguilar, 510 F.3d at 18 (right-to-

counsel and procedural-due-process claims, like claims involving “difficulties in calling witnesses

and in presenting evidence at the removal proceedings,” are subject to § 1252(b)(9)); Alvarez v.

Sessions, 338 F. Supp. 3d 1042, 1048 (N.D. Cal. 2018) (“Petitioners’ challenge based on the

potential loss of counsel ‘arises from’ their removal proceedings and can only be raised through

the PFR process, as required by § 1252(a)(5) and § 1252(b)(9).”). In their reply, Plaintiffs may cite

to Arroyo v. DHS, No. 19-cv-815, 2019 WL 2912848, at *12 (C.D. Cal. June 20, 2019), and argue

that § 1252(b)(9) does not apply to claims regarding an existing attorney-client relationship. They

would be wrong. Section 1252(b)(9) applies to existing and prospective attorney-client

relationships. See Avilez v. Barr, No. 2020 WL 570987, at *3 (N.D. Cal. Feb. 5, 2020) (following

Alvarez instead of Arroyo because Arroyo is inconsistent with circuit precedent and “is not

persuasive”).

       Section 1252(b)(9) also divests this Court of jurisdiction over the Organizational Plaintiffs’

claims. “[W]hen a statute provides a detailed mechanism for judicial consideration of particular

issues at the behest of particular persons, judicial review of those issues at the behest of other

persons may be found to be impliedly precluded.” Block v. Community Nutrition Institute, 467

U.S. 340, 349 (1984). Congress’s decision to consolidate review of claims “arising from” removal

proceedings, 8 U.S.C. § 1252(b)(9), into review of the final removal order itself bars organizations

from challenging practices in removal proceedings or right-to-counsel claims in those proceedings

on an individual alien’s behalf. See, e.g., ASAP, 409 F. Supp. 3d at 227 (dismissing “action for

declaratory and injunctive relief brought by organizational plaintiffs”); P.L., 2019 WL 2568648,

at *1 (dismissing claims brought by “Organizational Plaintiffs” who “represent” “detained

immigrants in removal proceedings”).




                                                 23
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 35 of 58



       And, another provision of the INA independently prevents Plaintiffs from establishing

jurisdiction over their right-to-counsel claims against EOIR: 8 U.S.C. § 1252(g) provides that,

apart from a petition for review to the appropriate court of appeals, “no court shall have jurisdiction

to hear any cause or claim by or on behalf of any alien arising from the decision or action by the

Attorney General to commence proceedings, adjudicate cases, or execute removal orders against

any alien,” “notwithstanding any other provision of law (statutory or nonstatutory).” This

jurisdictional bar on claims that relate to the manner in which EOIR “adjudicate[s] cases” covers

claims related to the “prosecution” of any “of the various stages in the deportation process” and is

aimed at preventing the type of piecemeal litigation that Plaintiffs have initiated here, challenging

certain aspects of immigration-court procedures outside the context of the specific cases where

their claims allegedly arise. Reno v. American-Arab Anti-Discrimination Comm., 525 U.S. 471,

483, 487 (1999) (Congress enacted § 1252(g) to prevent “deconstruction, fragmentation, and hence

prolongation of removal proceedings”). Thus, §§ 1252(a)(5), (b)(9), and (g) divest this Court of

jurisdiction over Plaintiffs’ right-to-counsel claims.

       Rather than explain why their claims are exempt from section 1252’s reach, Plaintiffs

assert—in a footnote—that “[t]his Court has jurisdiction over this matter pursuant to 28 U.S.C.

§ 1331,” and that “[t]hat jurisdiction is not limited by 8 U.S.C. §§ 1252(a)(5) or (b)(9) because this

action is not arising from removal proceedings.” Mot. 33 n.62. This Court “need not consider

cursory arguments made only in a footnote.” Hutchins v. District of Columbia, 188 F.3d 531, 539

n.3 (D.C Cir. 1999). But even if credited, Plaintiffs’ assertion is wrong: Plaintiffs’ claims “are not

independent or ancillary to the removal proceedings. J.E.F.M., 837 F.3d at 1033. Plaintiffs allege

that EOIR’s and ICE’s actions (or non-actions) violate the APA, their statutory right to counsel in

removal proceedings, and their right to procedural due process (as well as the other claims not




                                                  24
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 36 of 58



relied on in this Motion). See, e.g., Compl. ¶ 14 (Napoles Vaillant “is afraid that being forced to

appear at his hearing unrepresented will result in a worse outcome for his case.”); id. ¶ 15

(Rodriguez Cedeno “is concerned about his ability to represent himself in complicated

immigration proceedings during this time.”); id. ¶ 16 (Aliaga-Cobas fears “proceeding without an

attorney in her case.”); id. ¶ 17 (Guerrero-Cornejo is allegedly “unable to see his attorney in person

because of the policies Defendants have put in place restricting access to the facilities, and his

phone access is not sufficient to fully prepare him for the hearing.”); id. ¶ 18 (Velasquez Quiala

“is currently unable to see his attorney in order to prepare for the hearing, and he is limited to 30

minutes a day for attorney calls.”) (all emphases added). These claims “are bound up in and an

inextricable part of the administrative process” and can be raised only in a petition for review.

J.E.F.M., 837 F.3d at 1033; Vetcher, 316 F. Supp. 3d at 77.

       Plaintiffs cite to O.A. v. Trump, 404 F. Supp. 3d 109 (D.D.C. 2019), and Martinez v.

Nielsen, 341 F. Supp. 3d 400 (D.N.J. 2018), to argue that §§ 1252(a)(5) and (b)(9) do not apply to

their claims, see Mot. 33 n.62, but neither case helps them. In both cases, the district courts held

that §§ 1252(a)(5) and (b)(9) did not apply because the challenges “‘ar[ose] from’ a rulemaking of

general applicability,” O.A., 404 F. Supp. 3d at 132, 133, and from the government’s arrest of an

alien following an interview for a waiver of inadmissibility, Martinez, 341 F. Supp. 3d at 408,

rather than “from any action taken or proceeding brought to remove an alien from the United

States,” 8 U.S.C. § 1252(b)(9). Those cases were wrongly decided, but in any event do not help

Plaintiffs here because their challenges are to the (speculative) effect of EOIR’s and ICE’s actions

on their removal proceedings. See Compl. ¶¶ 14–18. As explained, review of these claims is

available only in the courts of appeals.

       Finally, these provisions expressly supersede the All Writs Act, 28 U.S.C. § 1651(a), as a




                                                 25
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 37 of 58



basis for a TRO. See 8 U.S.C. § 1252(b)(9) (“no court shall have jurisdiction ... by section ... 1651

of [title 28, the All Writs Act], or by any other provision of law”); id. § 1252(g) (same).

       D.      The INA Bars This Court From Enjoining or Restraining Operation of
               Immigration-Court Proceedings or the INA Detention and Removal
               Provisions.

       Plaintiffs’ requested relief also runs afoul of 8 U.S.C. § 1252(f)(1), which bars district

courts from awarding injunctive relief enjoining or restraining operation of 8 U.S.C. §§ 1221–

1232, including the provisions governing operation of removal proceedings, see 8 U.S.C. §§ 1229,

1229a, and detention and removal of aliens, id. §§ 1225, 1226, 1231. Title 8 U.S.C. § 1252(f)(1)

provides that “[r]egardless of the nature of the action or claim or of the identity of the party or

parties bringing the action, no court (other than the Supreme Court) shall have jurisdiction or

authority to enjoin or restrain the operation of the provisions of [8 U.S.C. §§ 1221–1232, which

include provisions governing the conduct of removal proceedings], other than with respect to the

application of such provisions to an individual alien against whom proceedings under such part

have been initiated.” (Emphasis added.)

       The relief sought by the Organizational Plaintiffs falls squarely within the scope of

injunctive relief that § 1252(f)(1) prohibits. Plaintiffs seek to enjoin the operation of the

immigration courts nationwide (except for remote bond hearings), which means enjoining

provisions of 8 U.S.C. § 1229a (governing how “[a]n immigration judge shall conduct

proceedings”), 8 U.S.C. § 1229 (establishing processes within the immigration court),

§ 1225(b)(1)(B)(iii)(III) (requiring immigration judges to undertake “prompt review” of negative

credible fear determinations “to the maximum extent practicable within 24 hours, but in no case

later than 7 days after the date of the determination.”), 8 U.S.C. § 1226 (providing for bond

hearings for certain detained aliens), and 8 U.S.C. §§ 1231(a) and (g) (providing for detention

following entry of a final removal order).


                                                 26
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 38 of 58



       Plaintiffs’ requested TRO would, inter alia, require all immigration courts nationwide to

“suspend all in-person non-bond hearing and immediately convert all in-person bond hearings to

remote hearings” and require immigration judges to grant continuances. See Mot. 2. These

requirements appear nowhere in sections 1225, 1226, 1229, 1229a, or 1231, and indeed these

requirements would halt the operation of those provisions as written and read into them additional

requirements. Plaintiffs’ requested relief thus seeks to rewrite these provisions via a TRO to

include significant limitations on the government’s authority “that [do] not exist in the statute,”

during a public health emergency, which is what § 1252(f) forecloses. Hamama v. Adducci, 912

F.3d 869, 879–80 (6th Cir. 2018); see Vazquez Perez v. Decker, No. 18-cv-10683, 2019 WL

4784950, at *6 (S.D.N.Y. Sept. 30, 2019) (similar).

       Section 1252(f)(1) also forecloses Plaintiff’s suggestion (at Mot. 29 & n.57) that the All

Writs Act, 28 U.S.C. § 1651(a), supplies jurisdiction to grant a TRO. Congress made clear that

§ 1252(f)(1)’s bar to injunctive relief is expansive and applies “[r]egardless of the nature of the

action or claim.” 8 U.S.C. § 1252(f)(1) (emphasis added). Section 1252(f)(1)’s specific

jurisdictional bar thus trumps the All Writs Act’s more general jurisdictional grant. See RadLAX

Gateway Hotel, LLC v. Amalgamated Bank, 566 U.S. 639, 645 (2012) (in issues of statutory

construction, “the specific governs the general”). Moreover, because Plaintiffs seek a TRO to

prevent future injury (rather than to preserve this Court’s jurisdiction over the Complaint), the All

Writs Act does not absolve Plaintiffs of their need to satisfy the traditional preliminary-injunction

factors, see Belbacha, 520 F.3d at 457; Kiyemba, 561 F.3d at 513 n.3, including showing a

likelihood of success on their underlying claims. They cannot make that showing where

§ 1252(f)(1) bars the relief they seek.




                                                 27
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 39 of 58



       E.      The INA Prohibits This Court From Compelling EOIR to Conduct Remote
               Immigration Proceedings Nationwide.

       Plaintiffs seek an order requiring EOIR to “immediately convert all in-person bond

hearings to remote hearings” and “[p]romulgate policies and procedures that, at a minimum, permit

remote court appearances by all necessary participants (e.g., court and court personnel, detained

persons, counsel, interpreters, transcription).” Mot. 2. But the INA prohibits this Court from

granting that relief too. As relevant here, 8 U.S.C. § 1252(a)(2)(B)(ii) states: “no court shall have

jurisdiction to review ... any other decision or action of the Attorney General or the Secretary of

Homeland Security the authority for which is specified under this subchapter to be in the discretion

of the Attorney General or the Secretary of Homeland Security.” This Court cannot order EOIR to

conduct remote immigration hearings because the use of remote technology is specified to be in

the government’s discretion. See 8 U.S.C. § 1229a(b)(2)(A) (“The proceeding may take place (i)

in person, (ii) where agreed to by the parties, in the absence of the alien, (iii) through video

conference, or (iv) subject to subparagraph (B), through telephone conference.” (emphasis added)).

This grant of authority does not provide any statutory standard to apply—it calls for the exercise

of “expertise and judgment unfettered by any statutory standard whatsoever.” Zhu v. Gonzales, 411

F.3d 292, 295 (D.C. Cir. 2005).

       Plaintiffs may argue in their reply that the authority granted under § 1229a(b)(2)(A) is not

“specified ... to be in the discretion” of the government. Kucana v. Holder, 558 U.S. 233, 239

(2010). They would be wrong. The fact that a specific provision does not use the word “discretion”

does not mean § 1252(a)(2)(B)(ii) does not apply. See Zhu, 411 F.3d at 295 (“a decision may be

‘specified ... to be in the discretion of the Attorney General’ even if the grant of authority to make

that decision does not use the word ‘discretion’”). Section 1252(a)(2)(B)(ii) applies because the

decision whether to use remote technology is, by statute, “entirely within [the] judgment or



                                                 28
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 40 of 58



conscience” of the government. Spencer Enters., Inc. v. United States, 345 F.3d 683, 690 (2003).

       This Court has no jurisdiction to grant a TRO.

II.    Plaintiffs Are Not Entitled to a TRO.

       Even if this Court possesses jurisdiction to grant Plaintiffs’ TRO Motion, Plaintiffs fail to

make a “clear showing” of their entitlement to relief for each of the preliminary-injunction factors.

Winter, 555 U.S. at 20, 23.

       A.      Plaintiffs Are Not Likely to Succeed on the Merits of Their Claims.

               1.      EOIR’s and ICE’s Actions Are Not Subject to Review Under the APA
                       and In Any Event Are Not Arbitrary and Capricious.

       Plaintiffs assert that “Defendants have violated the APA by refusing to direct immigration

courts to conduct proceedings in a manner consistent with the public health and protection of

detained persons’ rights to counsel.” Mot. 30; see also id. at 30–34; Compl. ¶ 70. Plaintiffs are

incorrect both on their factual assertions and on the law.

       Plaintiffs cannot raise an APA claim because they do not identify any “final agency action,”

subject to APA review. See 5 U.S.C. § 704; Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 890–93

(1990). Plaintiffs argue that the “APA entitles ‘[a] person suffering legal wrong because of agency

action, or adversely affected or aggrieved by agency action’ to ‘judicial review thereof.’” Mot. 33

(citing 5 U.S.C. § 702). But the APA permits review only of final agency actions. 5 U.S.C. § 704.

Generally, “two conditions must be satisfied for agency action to be ‘final’: First, the action must

mark the ‘consummation’ of the agency’s decisionmaking process,” and “second, the action must

be one by which ‘rights or obligations have been determined,’ or from which ‘legal consequences

will flow.’” Bennett v. Spear, 520 U.S. 154, 177–78 (1997) (citations omitted).

       Here, Plaintiffs do not identify any specific final agency action from which they allege

“legal consequences” flow. Plaintiffs’ APA claim seeks additional “guidance for immigration



                                                 29
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 41 of 58



court proceedings” and “attorney-client visits in detention facilities” to “preserve[ ] Plaintiffs’

statutory, regulatory, and constitutional rights” in removal proceedings in immigration court.

Compl. ¶ 70. But the only decision in removal proceedings with actual “force and effect of law,”

Bennett, 520 U.S. at 177–78, would be a decision by an immigration judge in an individual case

and not any decision to adopt or not adopt particular practices for counsel access. See, e.g., DRG

Funding Corp. v. HUD, 76 F.3d 1212, 1214 (D.C. Cir. 1996) (“courts have defined a nonfinal

agency order as one, for instance, that does not itself adversely affect complainant but only affects

his rights adversely on the contingency of future administrative action” (internal quotations

omitted)). There is no way to tell whether, for example, having an attorney visit with a client or

attend a hearing telephonically to prevent the spread of COVID-19 will have any effect on the

outcome of the proceedings or any legal consequences before the immigration judge even renders

a decision. And Plaintiffs’ challenges related to access to counsel, scheduling of hearings, and

practices for filings in immigration court, are all at bottom premised on speculative potential

effects on these immigration-judge decisions.

       Plaintiffs also cannot state an APA claim because, as explained above, Congress has set

out a separate specific and exclusive mechanism for review of decisions of immigration judges,

8 U.S.C. § 1252(a)(5), and the APA provides a cause of action only for claims challenging “final

agency action for which there is no other adequate remedy in a court,” 5 U.S.C. § 704 (emphasis

added). To “determin[e] whether an adequate remedy exists,” courts “focus[] on whether a statute

provides an independent cause of action or an alternative review procedure.” El Rio Santa Cruz

Neighborhood Health Ctr. v. HHS, 396 F.3d 1265, 1270 (D.C. Cir. 2005). Here, APA review

would impermissibly provide review that is duplicative of the specific alternative review procedure

available in the courts of appeals under 8 U.S.C. § 1252(b)(9) over any challenge to how removal




                                                 30
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 42 of 58



proceedings are conducted. And “if an adequate remedy at law exists, equitable relief is not

available under the APA.” Cohen v. United States, 650 F.3d 717, 731 (D.C. Cir. 2011).

       Plaintiffs’ alternative argument, made in a footnote, is that, if Defendants’ “decisions are

instead construed as a failure to act rather than agency action, their failures to act are also

reviewable under 5 U.S.C. § 706(1).” Mot. 34 n.63. But this argument fares no better. To raise a

claim under § 706(1), “[a]n agency must have failed to perform a non-discretionary duty to act.”

Norton, 542 U.S. at 64. “Thus, a claim under § 706(1) can proceed only where a plaintiff asserts

that an agency failed to take a discrete agency action that it is required to take,” id., and Plaintiffs

cite no provision requiring the government to take any particular action or that otherwise cabins

the agencies’ discretionary choices on how to best respond to a pandemic. And even if Plaintiffs

could identify a basis to argue that the government is required to take some additional action, they

still could not obtain an order directing agency operations in the particular ways they ask for; under

§ 706(1) a court can at most compel an agency “to take action upon a matter, without directing

how it shall act.” Cobell v. Norton, 392 F.3d 461, 475 (D.C. Cir. 2004).

       “The principal purpose of the APA limitations” in sections 702, 704, and 706(1) “is to

protect agencies from undue judicial interference with their lawful discretion, and to avoid judicial

entanglement in abstract policy disagreements which courts lack both expertise and information

to resolve.” Norton, 542 U.S. at 66. “If courts were empowered to enter general orders compelling”

agencies to carry out their general mandates in particular ways not required by any specific

statutory provision, as Plaintiffs ask the Court to do here, “it would ultimately become the task of

the supervising court, rather than the agency” to oversee “day-to-day agency management,” raising

the prospect of pervasive oversight by federal courts” that “is not contemplated by the APA.” Id.

at 66–67. A “policy disagreement” with an agency’s decision or approach to a problem is not a




                                                  31
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 43 of 58



“basis for substituting [Plaintiffs’] views for the agency’s” even where “the record could have

supported” Plaintiffs’ preferred approach. Pub. Citizen v. Nat’l Highway Traffic Safety Admin.,

374 F.3d 1251, 1263 (D.C. Cir. 2004).

       EOIR has reasonably exercised its discretion and authority here. EOIR has taken steps to

delay certain categories of hearings that can reasonably be postponed, including continuing all

hearings for aliens who are not detained through May 1, 2020, has restricted access to immigration

courts for individuals at risk of having COVID-19, and continues to evaluate whether additional

steps are necessary to respond to the outbreak as facts develop. McHenry Decl. ¶¶ 44–58. EOIR

has issued guidance to all immigration courts encouraging them to take certain steps to respond to

the outbreak, and EOIR’s decision to allow immigration courts some flexibility to respond to local

concerns and immigration judges to make decisions about how to best manage individual

proceedings for detained aliens, is not arbitrary and capricious. Those decisions are entitled to

significant deference. See Vermont Yankee Nuclear Power Corp., 435 U.S. at 543; Ngure v.

Ashcroft, 367 F.3d 975, 983 (8th Cir. 2004); Cutler v. Hayes, 818 F.2d 879, 896 (D.C. Cir. 1987).

This is especially so in the immigration context where “flexibility and the adaptation of the

congressional policy to infinitely variable conditions constitute the essence of the program.”

United States ex rel. Knauff v. Shaughnessy, 338 U.S. 537, 543 (1950).

       Plaintiffs also contend that “EOIR has not suspended non-essential in-person hearings” and

“has refused to issue any uniform policy designed to minimize the COVID-19 health risks” or to

follow CDC guidance “calling for ‘alternatives to in-person court appearances.’” Mot. 31. That

too is wrong. On March 18, the Director of EOIR issued a Policy Memorandum adopting guidance

for “all immigration court cases effective immediately” to “promote the safety of immigration

court personnel, representatives, aliens, attorneys for [DHS], and the general public during the




                                               32
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 44 of 58



ongoing national emergency related to the COVID-19 outbreak.” EOIR Mem. 1; McHenry Decl.

¶¶ 47–55. In doing so, EOIR reminded immigration judges of their broad authority to take certain

steps that could help minimize the risk of exposure to COVID-19, such as waiving appearances,

granting continuances, limiting physical presence in the courtroom, issuing standing orders

providing for additional procedures in response to the outbreak, and conducting hearings

telephonically or by video-teleconference. EOIR Mem. 2. EOIR has also encouraged immigration

judges to resolve cases through written filings where possible and to establish policies for

conducting hearings through VTC or by telephone to the maximum extent practicable consistent

with the law, has waived the requirement for original signatures for certain filings, and has made

electronic filing by email available for all 69 immigration courts. Id.

       EOIR has taken reasonable steps to mitigate exposure and permit flexibility while still

following the statutory and court-ordered strictures by which it is bound. Among other things,

EOIR’s response allows for remote options for filings and hearings; ensures that aliens continue

to timely receive what they are entitled to by statute and federal court orders; accords deference to

immigration judges to manage their own dockets and respond to unique factors or considerations

in individual cases; and allows detained aliens to continue to receive bond hearings to respond to

the surge in requests for bond hearings in light of the COVID-19 outbreak, including requests

made as part of litigation pending in other district courts. See, e.g., McHenry Decl. ¶¶ 44, 67, 70,

92–93; see also Las Americas, 2020 WL 1671584, at *2 (noting “evidence” “demonstrating that

[immigration courts] have taken significant steps to reduce in-person contacts and appropriately

modify immigration court functions in the wake of the COVID-19 outbreak,” including postponing

hearings, granting continuances, allowing email filings, and permitting appearances “by video or

telephonically” in the hearings that have not been postponed because they involve “detained




                                                 33
         Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 45 of 58



individuals, who may favor earlier hearings due to their custody status”).

        EOIR’s approach, including the deference given to individual immigration courts to

exercise their expertise and discretion over certain local decisions, is no different than how the

Administrative Office of the United States Courts has dealt with similar issues by encouraging

jurisdiction-by-jurisdiction and case-by-case approaches for the judiciary. See Administrative

Office of the U.S. Courts, Judiciary Preparedness for Coronavirus (COVID-19), https://www.us

courts.gov/news/2020/03/12/judiciary-preparedness-coronavirus-covid-19. This similar approach

by other courts shows EOIR’s approach is reasonable. Cf. Liadov v. Mukasey, 518 F.3d 1003, 1009

(8th Cir. 2008) (noting that the same rationale for strict filing deadlines in Article III courts applies

in immigration courts). To the extent that Plaintiffs believe that additional COVID-19-related

changes are needed to procedures in particular courts or cases, they can raise those requests with

individual immigration judges. Defendants are not aware of any reasonable requests for

continuances, extensions, or waivers of appearances being systematically denied. McHenry Decl.

¶ 88. This is a critical flaw with Plaintiffs’ demand for a sweeping TRO: the needs of an individual

alien in the proceedings and any request related to COVID-19 must be judged based on that alien’s

circumstances, and Plaintiffs cannot plausibly argue that every alien will be harmed by the absence

of the policies they demand. See United States v. Salerno, 481 U.S. 739, 745 (1987). Plaintiffs thus

cannot carry their burden for a TRO, see Mendez v. Cooper, No. 19-cv-01701, 2019 WL 2577477,

at *1 (D. Ariz. Apr. 17, 2019), and their systemic claims cannot succeed. See Las Americas, 2020

WL 1671584, at *1–2 (noting that similar TRO motion attacked practices “outside of the District,”

did not claim challenged practices were “occurring in every immigration court,” and finding no

reason why “review of individual court practices” would not “suffice to address practices in those

particular courts”). Thus, on the merits, Plaintiffs’ requests should be denied.




                                                   34
         Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 46 of 58



        The same is true for Plaintiffs’ APA claim against ICE. Plaintiffs argue that “the CDC

issued guidance on practices to implement in correctional and detention facilities” that calls for

“decreasing ‘operational entrances and exits to the facility’ (e.g., for attorney visits and to attend

hearings),” and claim that “ICE has refused to implement policies that are consistent with federal

health mandates to facilitate limitations on unnecessary transfer of detained persons or on

operational entrances and exits to detention facilities.” Mot. 30–31. But this is not true. ICE

facilities have adopted policies to restrict unnecessary access to facilities, test individuals for signs

of fever before permitting entry, and test detainees for COVID-19 before admitting them to a

facility. See ICE Pandemic Response 12–13; Ciliberti Decl. ¶¶ 8–23; Benoit Decl. ¶¶ 13–26;

Beckhelm Decl. ¶¶ 10–23; Bretz Decl. ¶¶ 9–16; Simao Decl. ¶¶ 6–7; LaBier Decl. ¶¶ 9–21; Allen

Decl. ¶¶ 7–16. They have also adopted precautions to prevent the spread of the virus by

maintaining or expanding options for remote attorney conferencing, by requiring any visits that

must take place in person use protective gear or occur through glass barriers, and instituting

practices for cleaning and sanitizing any shared spaces or communications equipment See Ciliberti

Decl. ¶¶ 19–24; Benoit Decl. ¶¶ 21–42; Beckhelm Decl. ¶¶ 17–26; Bretz Decl. ¶¶ 16–23; Simao

Decl. ¶¶ 8–15; LaBier Decl. ¶¶ 21–26; Allen Decl. ¶¶ 16–22. Like with their challenges against

EOIR, Plaintiffs fail to identify any uniform policy they disagree with that applies to all facilities,

any reason why the agency is not entitled to deference in developing varied and targeted policies

that leave room for individual facilities to adapt to local needs or challenges, or any reason why

this Court—as opposed to the courts in the relevant districts—should oversee the operations of

those facilities, some of which are already subject to ongoing litigation before courts in those

districts. See, e.g. McHenry Decl. ¶ 67; Las Americas, 2020 WL 1671584.

        Accordingly, Plaintiffs cannot meet their burden to show a likelihood of success on their




                                                   35
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 47 of 58



APA claim, and this Court should deny their motion for a TRO.

               2.      EOIR’s and ICE’s Policies Do Not Violate Plaintiffs’ Constitutional or
                       Statutory Rights to Counsel or Procedural Due Process.

       Plaintiffs assert that “Defendants have violated [Plaintiffs’] constitutional and statutory

rights to counsel and to due process,” Mot. 30, “by impairing (1) their ability to retain counsel,

(2) their ability to communicate confidentially with their counsel, and (3) their counsel’s ability to

competently represent them in immigration court,” Mot. 36; see also id. at 34–37. They claim that

“ICE’s failure to act to increase detained persons’ access to robust communication and EOIR’s

failure to suspend in-person hearings and grant continuances as a matter of course together deprive

detained persons of their right of access to counsel.” Mot. 37. They are wrong. Plaintiffs fail to

explain how EOIR’s decision not to suspend all in-person immigration hearings nationwide or

ICE’s disease-prevention or attorney-access protocols “effectively deny” the Individual Plaintiffs’

access to counsel in violation of the INA or the Due Process Clause.

       It is well-established that “there is in a civil case no constitutional right to counsel.” Koller

By and Through Koller v. Richardson-Merrell, Inc., 737 F.2d 1038, 1052 (D.C. Cir. 1984), vacated

on other grounds sub nom. Richardson-Merrell, Inc. v. Koller, 472 U.S. 424 (1985); INS v. Lopez-

Mendoza, 468 U.S. 1032, 1038 (1984) (“Consistent with the civil nature of the proceeding, various

protections that apply in the context of a criminal trial do not apply in a deportation hearing.”).

Congress, however, has provided aliens a limited right to counsel in civil removal proceedings:

       In any removal proceedings before an immigration judge and in any appeal proceedings
       before the Attorney General from any such removal proceedings, the person concerned
       shall have the privilege of being represented (at no expense to the Government) by such
       counsel, authorized to practice in such proceedings, as he shall choose.

8 U.S.C. § 1362. This statutory right that Congress has afforded aliens in removal proceedings

exceeds the minimum due-process requirement that an alien receive “some form of meaningful or

fair hearing.” Maldonado-Perez v. INS, 865 F.2d 328, 32 (D.C. Cir. 1989); Dia v. Ashcroft, 353


                                                  36
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 48 of 58



F.3d 228, 243 (3d Cir. 2003) (en banc) (“[a]liens only have those statutory rights granted by

Congress”). Plaintiffs’ procedural-due-process claim is thus subsumed by their statutory right-to-

counsel claim: “[A]n immigration hearing that satisfies the statutory requirements of [the INA]

also satisfies the requirements of the due process clause.” Skorusa v. Gonzales, 482 F.3d 939, 943

n.1 (7th Cir. 2007).

       Courts have held that the statutory right to counsel in immigration proceedings is violated

only where conditions are “tantamount to denial of counsel.” Biwot, 403 F.3d at 1098. Whether a

denial occurred requires a backward-looking inquiry into “the actual substance of the hearing,”

Lara-Torres, 383 F.3d at 973, to determine whether the proceedings were “so fundamentally unfair

that [the alien] was prevented from reasonably presenting his case,” Gonzalez v. INS, 82 F.3d 903,

908 (9th Cir. 1996). And, a violation of the statute alone may not violate due process absent a

showing of prejudice. See Castro-O’Ryan v. U.S. Dep’t of Immigration and Naturalization, 847

F.2d 1307, 1312–13 (9th Cir. 1987).

       Here, Plaintiffs allege that Defendants’ COVID-19 response “impedes” the Individual

Plaintiffs’ ability to retain or consult with counsel. Mot. 26. But they fall far short of showing that

they were effectively denied access to counsel during immigration proceedings. Against ICE, for

example, Plaintiffs allege that “videoconferencing is not always made available” to immigration

detainees, Mot. 22, and that detainees “common[ly]” miss telephone calls, must pay for calls, have

their scheduled call times canceled, wait in line to make calls, have their calls “monitored or

overheard by others,” have time limits on calls, or experience poor connection quality. Mot. 22–

23. And against EOIR, Plaintiffs complain that the lack of a blanket order permitting telephonic

appearances as a matter of course at all immigration courts and the denial of some motions for

continuances or for telephonic appearances make it more difficult to obtain or consult with counsel.




                                                  37
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 49 of 58



See Mot. 25–26. But these allegations are of a different kind and categorically less severe than the

effective denial of counsel and forced self-representation that courts have recognized as a denial

of the statutory right to counsel. See, e.g., Biwot, 403 F.3d at 1096 (finding a violation of the

statutory right to counsel when an immigration judge allowed an alien, “who was incarcerated and

diligently seeking representation, only five working days to obtain counsel”); Montes-Lopez v.

Holder, 694 F.3d 1085, 1089–90 (9th Cir. 2012) (violation where, after learning at a hearing that

an alien’s counsel had been suspended from the bar, immigration judge refused to grant the alien

a continuance to secure new counsel and then denied the alien’s claims for relief). And it is

impossible to know now whether Plaintiffs’ allegations will have any effect on their rights, let

alone result in “substantial prejudice,” before their immigration hearings have been held. Lara-

Torres, 383 F.3d at 973 (quotation marks omitted). Such a determination can be made only by

scrutinizing “the actual substance of the hearing” after the fact. See id.

       Plaintiffs’ and their declarants’ actual allegations also fall far short of specifying why they

believe Defendants are responsible for the issues of which they complain. For example, Plaintiff

Napoles Vaillant states merely: “I am concerned that I do not have an attorney to represent me at

this hearing. ... The Florence Immigrant & Refugee Rights Project was trying to obtain pro bono

representation for me and my husband, Ernesto, but it had to suspend those efforts in light of

COVID-19 and the government’s response to COVID-19.” Pls.’ Ex. 21, Napoles Vaillant Decl.

¶¶ 7–8 (ECF No. 7-22). He offers no explanation why he believes that “the government’s response

to COVID-19” is the cause of his inability to find an attorney, nor does he say that the immigration

judge has denied a request for a continuance. See id. Attorney Michelle Edstrom states that she

filed a motion to continue a hearing scheduled for April 2, 2020, in the Dallas immigration court,

but states only that she “remain[s] apprehensive that the motion will not be granted.” Pls.’ Ex. 28,




                                                 38
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 50 of 58



Edstrom Decl. ¶¶ 7–8 (ECF No. 7-29). There is no evidence in Plaintiffs’ TRO Motion papers filed

on April 8 that the request was in fact denied (despite the fact that such evidence would have been

available by the time Plaintiffs filed this Motion and could have been submitted if it existed).

Likewise, although Plaintiff Rodriguez Cedeno states that his motion for a continuance of his April

2 hearing was denied, see Pls.’ Ex. 5, Rodriguez Cedeno Decl. ¶ 6, Plaintiffs fail to mention that

Rodriguez Cedeno’s hearing was later continued until August 5 and so did not occur on April 2,

meaning that he was not denied any right to counsel. Burgus Decl. ¶ 3; see, e.g., Perez v. Sessions,

690 F. App’x 360, 365 (6th Cir. 2017) (no violation of § 1362 where immigration judge provided

alien five additional weeks to obtain counsel); Benjamin v. U.S. Attorney General, 682 F. App’x

725, 729 n.1 (11th Cir. 2017) (no violation where immigration judge provided two continuances

to allow alien to obtain counsel). Plaintiffs fail to establish that they are likely to succeed on their

right-to-counsel claims. And because that right exceeds the constitutional minimum required by

the Due Process Clause, they also fail on their procedural-due-process claim.

       Plaintiffs also cannot succeed on their argument (made in footnotes) that this Court can

grant preliminary relief based on the APA’s right-to-counsel provision, which states that “[a]

person compelled to appear in person before an agency or representative thereof is entitled to be

accompanied, represented, and advised by counsel or, if permitted by the agency, by other qualified

representative.” 5 U.S.C. § 555(b); see Mot. 35 n.64 & 37 n.66. “Congress intended the provisions

of the [INA] to supplant the APA in immigration proceedings,” Ardestani v. INS, 502 U.S. 129,

133 (1991), so the only right-to-counsel statute that applies here is the INA’s (8 U.S.C. § 1362),

not the APA’s (5 U.S.C. § 555(b)). As discussed above, Defendants have not violated that statute.

       Plaintiffs cannot succeed on their access-to-counsel or procedural-due-process claims.

       B.      Considerations of Harm and the Equities Weigh Strongly Against a TRO.

       It is well-settled that the public interest in enforcement of United States immigration laws


                                                  39
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 51 of 58



is significant. United States v. Martinez-Fuerte, 428 U.S. 543, 556–58 (1976); Blackie’s House of

Beef, Inc. v. Castillo, 659 F.2d 1211, 1221 (D.C. Cir. 1981) (“The Supreme Court has recognized

that the public interest in enforcement of the immigration laws is significant.”); see also Nken v.

Holder, 556 U.S. 418, 435 (2009). Plaintiffs seek injunctive relief altering Defendants’ response

to COVID-19, but the disruptive effect of ordering the relief Plaintiffs seek based on these

temporary circumstances would long survive the COVID-19 pandemic, and the precedent would

serve to allow organizations and individuals to rewrite the immigration statutes and change federal

policy anytime they disagree with the government’s response to a crisis. Granting such far-flung

relief based on temporary circumstances is not in the public interest. The public interest is instead

best served by allowing the orderly processes and protocols designed to safeguard the essential

functions of the immigration system, and implemented by government professionals, to proceed.

See Youngberg v. Romeo, 457 U.S. 307, 322–23 (1982) (urging judicial deference and finding

presumption of validity for decisions of medical professionals concerning conditions of

confinement). The burden and attendant harm caused by the relief Plaintiffs seek, and its impact

on EOIR and ICE operations nationwide, is not justified at this preliminary stage.

       Against these weighty considerations, Plaintiffs fail to show that they will suffer irreparable

injury absent a TRO. Plaintiffs must “demonstrate that irreparable injury is likely in the absence of

an injunction.” Winter, 555 U.S. at 22 (emphasis in original). The D.C. Circuit thus “has set a high

standard for irreparable injury.” Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290,

297 (D.C. Cir. 2006). Plaintiffs claim that “Defendants’ failures to implement uniform, reasonable

policies that protect Plaintiffs’ constitutional and statutory rights to counsel and that conform with

public health requirements have already injured Plaintiffs (and the public) and will continue to do

so absent immediate relief.” Mot. 37; see also Mot. 37–41. They are wrong.




                                                 40
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 52 of 58



       First, for the reasons explained above, Defendants EOIR and ICE have implemented

policies that protect aliens’ rights and safeguard the agencies’ essential functions, with an eye

towards maintaining public health. See supra at pp. 4–12.

       Second, Plaintiffs’ allegations of certain and irreparable harm fail on their face. Plaintiffs

themselves admit that they seek a TRO only to prevent “the possibility of [attending] in-person

hearings in 58 of the nation’s 69 immigration courts.” Mot. 1 (emphasis added). And the alleged

irreparable harm that they would suffer from this possibility (which they can avoid by requesting

telephonic or VTC hearings, or continuances) is the speculative harm of exposure to COVID-19

or the potential for inadequate assistance of counsel caused by EOIR’s and ICE’s policies.

Plaintiffs’ claim of future injury is hypothetical—and unlikely, given the precautions that EOIR

and ICE have put into place and the guidance it has issued to its immigration judges allowing for

telephonic or VTC hearings, see McHenry Decl. ¶¶ 44–100; EOIR Mem. 1–4; ICE Pandemic

Response 7–16; Hott Decl. ¶¶ 19–30; Ciliberti Decl. ¶¶ 8–24; Benoit Decl. ¶¶ 13–42; Beckhelm

Decl. ¶¶ 10–26; Bretz Decl. ¶¶ 9–23; Simao Decl. ¶¶ 6–15; LaBier Decl. ¶¶ 9–26; Allen Decl.

¶¶ 7–22—and Plaintiffs are not entitled to an immediate shutdown of the immigration court system

based on a conjectural injury they have not suffered and may never suffer. See Clapper, 568 U.S.

at 416 (finding standing based on fear, even one that is reasonable, “improperly waters down the

fundamental requirements of Article III.”); see also Las Americas, 2020 WL 1671584, at *2.

Courts considering TRO motions from aliens in immigration detention where there is an absence

of specific facts showing that the particular facility had any confirmed cases or was taking

inadequate precautions have thus declined to release aliens based on pure speculation about

COVID-19. See Dawson, 2020 WL 1304557, at *3 (“The ‘possibility’ of harm is insufficient to

warrant the extraordinary relief of a TRO.”).




                                                41
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 53 of 58



       Because Plaintiffs’ asserted injuries are highly speculative, they have failed to make the

requisite clear showing of “certain and great” irreparable harm necessary to warrant a TRO.

Wisconsin Gas Co. v. FERC, 758 F.2d 669, 674 (1985); Winter, 555 U.S. at 22.

       C.      Even if This Court Were to Grant a TRO, It Must Be Sharply Limited.

       As noted above, this Court is barred from awarding the Organizational Plaintiffs any

injunctive relief under section 1252(f)(1).4 Thus, even if some preliminary relief were warranted

here, the indiscriminate nationwide relief that Plaintiffs seek is far too broad. Any TRO that the

Court issues must be limited to the Individual Plaintiffs identified in the Complaint. This is

especially true where, as here, Plaintiffs’ requested relief would cause harm to at least some non-

parties by delaying bond hearings and merits hearings for aliens who want those hearings to go

forward because they may lead to their release. See Mot. 2; McHenry Decl. ¶ 31.

       First, Plaintiffs seek relief that conflicts with Article III, which requires that a “remedy

must be tailored to redress the plaintiff’s particular injury.” Gill v. Whitford, 138 S. Ct. 1916, 1934

(2018). Allowing a party to challenge policies “apart from any concrete application that threatens

imminent harm to [their] interests” would “fly in the face of Article III’s injury-in-fact

requirement.” Summers v. Earth Island Inst., 555 U.S. 488, 494 (2009). That rule is especially

important where plaintiffs do “not represent a class, so they [can] not seek to enjoin [an agency

regulation] on the ground that it might cause harm to other parties.” Monsanto Co. v. Geertson

Seed Farms, 561 U.S. 139, 163 (2010).

       Second, injunctions that go beyond Plaintiffs’ own injuries exceed the power of a court

sitting in equity, which must limit injunctions to “be no more burdensome to the defendant than


4
  Notably, the Organizational Plaintiffs only move for relief on Claim I because they are not party
to the claims brought in Claims II and III of the Complaint. Therefore, it is even clearer that should
this Court find that any relief is appropriate on either of those Counts, it must be limited to the
actual individual Plaintiffs who bring those Counts. See Compl. ¶¶ 73–82.


                                                  42
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 54 of 58



necessary to provide complete relief to the plaintiffs.” Madsen v. Women’s Health Ctr., Inc., 512

U.S. 753, 765 (1994). It is well established that the scope of a court’s statutory authority to enter

injunctive relief is circumscribed by the type of relief that was “traditionally accorded by courts of

equity.” Grupo Mexicano de Desarrollo S.A. v. Alliance Bond Fund, Inc., 527 U.S. 308, 318–19

(1999). But the tradition of equity inherited from English law was premised on “providing

equitable relief only to parties” because the fundamental role of a court was to “adjudicate the

rights of ‘individual[s].’” Trump v. Hawaii, 138 S. Ct. 2392, 2427–28 (2018) (Thomas, J.,

concurring) (quoting The Federalist No. 78, at 466 (Alexander Hamilton) (Clinton Rossiter ed.,

1961)). This Court should tailor any relief to the actual Plaintiffs’ injuries.

       Third, although Plaintiffs attempt to rely (in a footnote) on the All Writs Act for the basis

of their injunction, see Mot. 29 n.57, their claims are rooted in the APA, and the APA does not

authorize universal injunctive relief. The APA provides only that a court may “hold unlawful and

set aside agency action.” 5 U.S.C. § 706(2). Nothing in § 706(2)’s text specifies whether

challenged agency action, if found invalid, should be set aside on its face or as applied to the

individuals. In the absence of a clear statement in the APA that it displaces traditional rules of

equity, the court should adopt the narrower reading. See Virginia Soc’y for Human Life v. FEC,

263 F.3d 379, 393 (4th Cir. 2001) (“Nothing in the language of the APA, however, requires us to

exercise such far-reaching power.”). The absence of nationwide injunctions prior to Congress’

enactment of the APA in 1946 (and for over fifteen years thereafter) further suggests that the APA

was not originally understood to authorize such broad relief. See Samuel L. Bray, Multiple

Chancellors: Reforming the National Injunction, 131 Harv. L. Rev. 417, 438 & n.121 (2017).

       Furthermore, nationwide injunctive relief creates other legal and practical problems—

problems which would be acute here, given the variety of different factual circumstances




                                                  43
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 55 of 58



surrounding each of the 69 immigration courts and the various ICE detention facilities. Plaintiffs

want a one-size-fits-all remedy, disregarding the fact that immigration courts and detention centers

across the country have responded appropriately, taking local conditions into account and

considering the operations of their individual dockets. McHenry Decl. ¶ 46. A nationwide

injunction would freeze immigration-court operations everywhere and limit EOIR’s and ICE’s

flexibility to respond to local conditions or issues. Such an injunction circumvents the procedural

rules governing class actions, which permit relief to absent parties only if rigorous safeguards are

satisfied. See Fed. R. Civ. P. 23. Plaintiffs—who do not raise class claims in their complaint and

have not moved to certify a class under Rule 23—have made no effort to explain why they should

be entitled to such sweeping relief. Nationwide relief also enables forum shopping and effectively

nullifies the decisions of other district courts nationwide, including courts who have considered

similar requests to the one here. See DHS v. New York, 140 S. Ct. 599, 601 (2020) (Gorsuch, J.,

concurring); see also Las Americas, 2020 WL 1671584 (denying similar relief to that requested

here). Nationwide relief would also deprive the judicial system of the benefits that accrue when

numerous courts grapple with complex legal questions in a common-law-like fashion.

       These principles apply with greater force to TROs and preliminary injunctions, which are

equitable tools designed to “preserve the relative positions of the parties until a trial on the merits

can be held.” Univ. of Texas v. Camenisch, 451 U.S. 390, 395 (1981). “[T]he purpose of”

preliminary equitable relief “is not to conclusively determine the rights of the parties, but to

balance the equities as the litigation moves forward.” Trump v. IRAP, 137 S. Ct. 2080, 2087 (2017).

Courts thus “need not grant the total relief sought by the applicant but may mold [their] decree to

meet the exigencies of the particular case.” Id.; U.S. Ass’n of Reptile Keepers, Inc. v. Jewell, 106

F. Supp. 3d 126, 129 (D.D.C. 2015), aff’d sub nom. U.S. Ass’n of Reptile Keepers, Inc. v. Zinke,




                                                  44
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 56 of 58



852 F.3d 1131 (D.C. Cir. 2017) (“the Court has not finally determined that the [action] is

unlawful,” so “the need for narrow tailoring ... is particularly important,” and any “injunction

should be limited in scope to protect only” parties); Neb. Dep’t of Health & Human Servs. v. Dep’t

of Health & Human Servs., 435 F.3d 326, 330 (D.C. Cir. 2006) (“district court should not have

enjoined agency from applying challenged regulation to any party when an injunction covering

plaintiff alone adequately protects it”); California v. Azar, 911 F.3d 558, 584 (9th Cir. 2018).

       Finally, even if a TRO were appropriate, Plaintiffs have not shown that the nationwide

relief they seek is warranted based on the harms alleged, as weighed against a TRO that would

irreparably harm the United States and the public. It is always in the public interest to enforce its

immigration laws—including through immigration courts conducting its essential functions.

See Landon v. Plasencia, 459 U.S. 21, 34 (1982); Blackie’s House of Beef, Inc., 659 F.2d at 1221.

Here, the Executive Branch has identified a crisis and is responding appropriately, with due

consideration for local circumstances and aliens’ rights. E.g., McHenry Decl. ¶¶ 44–46, 97. In

contrast, Plaintiffs’ alleged injuries are speculative, do not account for recent action that ICE and

EOIR have taken to respond to the crisis, and do not outweigh the harm that would be caused by

“injunctive relief [that] deeply intrudes into the core concerns of the executive branch,” Adams v.

Vance, 570 F.2d 950, 954 (D.C. Cir. 1978), and would undermine the “efficient administration of

the immigration laws,” Innovation Law Lab v. McAleenan, 924 F.3d 503, 510 (9th Cir. 2019).

       Under these principles, the proposed nationwide TRO is overbroad and should be rejected.

If the Court grants relief, the Court must limit any relief to the Individual Plaintiffs and actual

clients of the Organizational Plaintiffs’ members whom they can identify as having imminent

immigration-court hearings.

                                         CONCLUSION

       This Court should deny Plaintiffs’ motion for a temporary restraining order,


                                                 45
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 57 of 58



Dated: April 13, 2020               Respectfully submitted,

                                    JOSEPH H. HUNT
                                    Assistant Attorney General

                                    SCOTT G. STEWART
                                    Deputy Assistant Attorney General

                                    WILLIAM C. PEACHEY
                                    Director

                                    EREZ REUVENI
                                    Assistant Director

                                    LAUREN C. BINGHAM
                                    KATHERINE J. SHINNERS
                                    BRIAN C. WARD
                                    Senior Litigation Counsel

                                    /s/ Alexander J. Halaska
                                    ALEXANDER J. HALASKA
                                    WILLIAM C. BATEMAN III
                                    COURTNEY E. MORAN
                                    Trial Attorneys
                                    U.S. Department of Justice
                                    Civil Division
                                    Office of Immigration Litigation
                                    District Court Section
                                    P.O. Box 868, Ben Franklin Station
                                    Washington, D.C. 20044
                                    Tel: (202) 307-8704 | Fax: (202) 305-7000
                                    alexander.j.halaska@usdoj.gov

                                    Counsel for Defendants




                                      46
        Case 1:20-cv-00852-CJN Document 19 Filed 04/13/20 Page 58 of 58



                                CERTIFICATE OF SERVICE

                        NIPNLG v. EOIR, No. 1:20-cv-00852-CJN (D.D.C.)

       I certify that on April 13, 2020, I served a copy of the foregoing document and its

attachments on all parties of record by causing them to be filed with the Clerk of the Court through

the CM/ECF system, which will provide electronic notice to all attorneys of record.



Dated: April 13, 2020                         /s/ Alexander J. Halaska
                                              ALEXANDER J. HALASKA
                                              Trial Attorney
                                              United States Department of Justice
                                              Civil Division
                                              Office of Immigration Litigation
                                              District Court Section
                                              P.O. Box 868, Ben Franklin Station
                                              Washington, D.C. 20044
                                              Tel: (202) 307-8704 | Fax: (202) 305-7000

                                              Counsel for Defendants




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